Charles Oran Mensik and Mary Mensik, Petitioners, v. Commissioner of Internal Revenue, RespondentMensik v. CommissionerDocket No. 76517United States Tax Court37 T.C. 703; 1962 U.S. Tax Ct. LEXIS 210; January 16, 1962, Filed *210 Decision will be entered under Rule 50.  1. Petitioner, as managing officer, president, and chairman of the board of directors of the City Savings Association, employed Melvin Building Corporation to do remodeling of the building of City Savings and in payment therefor caused City Savings to make a gross overpayment for the work actually done, which overpayment was advisedly arranged by petitioner.  At or near various dates on which the final payments were being made by City Savings to Melvin, petitioner arranged with Melvin to deliver to him various substantial sums of money as purported loans to him and one Orville Hodge, then State auditor for the State of Illinois.  The respondent in his determination of deficiency determined that to the extent of $ 176,312.50 the moneys so paid over to petitioner constituted income to him.  By amended answer, it is his claim that this amount should be increased to $ 206,330.56.  Held, that some part, if not all, of the overpayment made by City Savings to Melvin was thereafter paid over by Melvin to petitioner and was income to him.  Held, further, that petitioner has failed to prove that the income so received was in a lesser amount*211  than determined by respondent in his determination of deficiency. Held, further, that the respondent has failed to carry his burden of proving that the income so received by petitioner was in an amount greater than determined by him in his determination of deficiency.2. In October of 1954, Melvin Building Corporation entered into a contract with petitioner's sister for the purchase of 13 lots on West Jackson Boulevard in Chicago, and made a substantial cash payment on the purchase price.  The entries on its books reflected only the purchase of lots 2 to 13, inclusive.  Early in 1956, Melvin began construction of a building on some or all of the lots including lot 1, and received a construction loan from City Savings therefor.  On May 25, 1956, after substantial amounts had been advanced on the loan and the construction was under way, Melvin issued a check for $ 10,000 to petitioner and entered the payment on its books as payment for lot 1.  On March 11, 1957, petitioner, by check, made a payment of $ 10,000 to Melvin, which check Melvin credited to its notes receivable account.  It is petitioner's testimony and claim that the $ 10,000 paid in March of 1957 was a repayment of*212  the $ 10,000 received in May of 1956, the repayment being made after discovery that Melvin already owned lot 1.  No change in the application of the payment of $ 10,000 in May of 1956 or in receipt of $ 10,000 in March of 1957 has ever been made on Melvin's books.  The respondent determined that by reason of the receipt of the $ 10,000 in 1956, petitioner realized income in that amount.  Held, that petitioner has failed to show by convincing or persuasive proof that the respondent erred in his determination.3.  In 1956, petitioner caused a check to be drawn on a bank account of City Savings Association for $ 6,800.  The payee shown was Commercial Broadcasters and the basis for the drawing of the check was an invoice made out on a form of Commercial Broadcasters.  The invoice was not the invoice of Commercial Broadcasters and Commercial Broadcasters never received the check.  Commercial Broadcasters did not arrange a program or programs such as were described on the bogus invoice. The respondent determined that by reason of the $ 6,800 payment by City Savings, petitioner realized income in that amount.  Held, that petitioner has failed to prove that the respondent erred. *213  4.  Through his relations with City Savings and with Melvin and other institutions with which he occupied dominant positions, petitioner regularly carried on varied business operations, which included the purchase and sale of real estate. Held, that the parcels of real estate sold by petitioner in 1956 were sold to customers in the ordinary course of his business, and that the gain therefrom was not capital gain, but ordinary income.  Held, further, that the income derived from the purchase of real estate tax certificates and their subsequent redemption was ordinary income.5. During 1956 petitioner, in the course of his business, sold insurance policies to his employees, to employees of City Savings, and to relatives and friends, on which sales he waived his commissions in favor of the purchasers.  The respondent determined that petitioner realized income in the amount of the commissions waived. Held, that respondent did not err in his determination.6. In June of 1955, petitioner organized the First Guarantee Savings Association, of which he owned 98.8 percent of its stock, and the Chicago Guarantee Savings Association, of which he owned 98.6 percent of the stock. *214  On July 1, 1955, he executed written instruments with each of the associations, reciting that he agreed to spend $ 55,000 in advertising each such association during the period July 1, 1955, and June 30, 1956.  In each instrument it was recited that the association would recommend and give all of the insurance of its members and its own to petitioner for a period of 5 years, and for an additional 5 years, if $ 100,000 in commissions was not received by petitioner during the first 5 years.  Petitioner expended $ 17,295.14 in 1955 and $ 32,076.14 in 1956 for advertising of First Guarantee, and $ 18,374.84 in 1955 and $ 36,284.84 in 1956 for advertising Chicago Guarantee.  In 1956 he deducted as advertising expenses of his operations carried on under the name of City Insurance Agency, $ 8,951.93, which was the same in amount as the sum of $ 5,139.81 received in 1956 in the form of commissions on insurance business orginating with First Guarantee and $ 3,812.12 on business originating with Chicago Guarantee.  Held, that the amounts expended by petitioner in 1955 and 1956 in advertising the two savings associations represented capital contributions by him to the associations.7. In*215  June of 1955, when Chicago Guarantee Savings Association was organized, petitioner paid $ 9,000 as rent for 20 months for space to be occupied by the association, for $ 2,000 of which he was reimbursed.  In reporting his income for 1955, petitioner deducted as rent $ 2,700 of the $ 7,000 net balance, and in his 1956 return deducted the remaining $ 4,300.  Held, that the $ 7,000 so expended by petitioner in June of 1955 was a capital contribution by him to Chicago Guarantee.8. In September of 1956, petitioner received premium refunds of $ 6,166.42 from the insurer of the buildings of First GuaranteeSavings Association and Chicago Guarantee Savings Association, this insurance having been sold by petitioner to the associations in the course of his personal business operations.  The amounts so received by petitioner were retained by him and have never been paid over to the said associations.  Held, that the respondent did not err in determining that petitioner realized income in 1956 in the amount of insurance premiums so refunded and received by him.9. Held, that a part of the deficiency is due to fraud.  Anna R. Lavin, Esq., and Edward J. Calihan, Jr., Esq., for the petitioners.Don S. Harnack, Esq., and Warren C. Seieroe, Esq., for the respondent.  Turner, Judge.  TURNER *705  The respondent has determined a deficiency in income tax against the petitioners for the taxable year 1956 in the amount of $ 547,967.55 and an addition to tax for fraud for such year in the amount of $ 273,983.78.  Since the deficiency relates solely to the income of Charles Oran Mensik, he will hereafter be referred to as petitioner.  The questions for decision are:(1) Whether petitioner realized income as the result*217  of payments by City Savings Association to Melvin Building Corporation in respect of the remodeling of the office building of City Savings, and if so, the amount thereof.(2) Whether the sum of $ 10,000 received from Melvin Building Corporation was taxable income to petitioner.(3) Whether $ 6,800 paid by City Savings Association on a check drawn on its bank account showing Commercial Broadcasters as payee was income to petitioner.(4) Whether gains realized by petitioner from sales of real estate and from redemption of tax certificates are taxable as long-term capital gain, or as ordinary income.(5) Whether petitioner, who sold insurance policies to his own employees and employees of City Savings Association, and to friends and relatives, waiving his commissions, is taxable on the commissions so waived.(6) Whether advertising expenses paid by petitioner on behalf of First GuaranteeSavings Association and Chicago Guarantee Savings Association are deductible by petitioner as an ordinary and necessary business expense.(7) Whether an amount paid by petitioner as rent on behalf of Chicago Guarantee Savings Association is deductible as an ordinary and necessary business expense.(8) *218  Whether refunds of premiums on insurance policies purchased by First GuaranteeSavings Association and Chicago Guarantee Savings Association, but received by petitioner and retained by him, are taxable to him.*706  (9) Whether any part of the deficiency was due to fraud with intent to evade tax.FINDINGS OF FACT.Some of the facts and some evidence have been stipulated and the stipulated facts are found as stipulated.Petitioners are husband and wife, and residents of Chicago, Illinois.  They filed a joint income tax return for the year involved with the district director of internal revenue in Chicago.During 1956 petitioner was managing officer, president, and chairman of the board of directors of City Savings Association, a mutual savings and loan association, located and operating in Chicago, which received deposits of money for investment purposes, largely in real estate mortgages. The City Savings Association, sometimes referred to as City Savings, had been in existence since 1908, and petitioner had been its managing officer since about 1942.Also during 1956 petitioner was chairman of the board of directors and owner of 98.8 percent of the issued and outstanding stock*219  of First Guarantee Savings Association, and was a member of the board of directors and owner of 98.6 percent of the stock of Chicago Guarantee Savings Association.  These two associations, sometimes referred to as First Guarantee and Chicago Guarantee, were Illinois savings and loan corporations, engaged in the same business as that of City Savings, and were likewise located in Chicago.  They were organized by petitioner in June of 1955.In mutual savings and loan associations such as City Savings, the depositors have a right to participation in the earnings of the association.  In the case of First Guarantee and Chicago Guarantee, which were stock companies, the profits and reserves belonged to the corporations and the depositors did not have a right of participation in the earnings, but were entitled only to the interest paid on their deposits.Melvin Building Corporation, hereafter referred to as Melvin, was organized in Illinois in 1945, by Carl M. Melberg, Mary Ann Barto, and Joseph Mensik, petitioner's father.  From its inception, Melvin has been in the business of acquiring land, constructing business buildings, apartment buildings, and houses thereon, and selling the land *220  with the buildings.  During 1956 the record owners of the Melvin stock were Melberg, Barto, and Irene Kunitz, petitioner's sister.Joseph Mensik, who originally owned about 47 or 48 percent of the Melvin stock, decided in February of 1951 to retire from the construction business because of his advanced age.  At the suggestion of petitioner, Robert Kramer, whose wife was a sister of petitioner's wife, agreed in writing to purchase 2,325 shares of Melvin stock from Joseph Mensik.  Kramer had been a vice president of Melvin since *707  1947.  He was employed as a supervisor for the Chicago Transit Authority, a position he had held since 1939.  The contract of sale, dated February 26, 1951, provided that the purchase price was to be $ 7,750, that Kramer was to execute a judgment note 1 in the amount of the sale price, but that in the event of default the stock was to be taken in complete satisfaction of the debt without Kramer being personally liable therefor.  Despite the provision in the contract that a note was to be given in payment and that "the 2325 shares of Melvin Building Corporation stock shall be held as security by the seller [Joseph Mensik], together with the judgment*221  note for the faithful performance of this contract," petitioner supplied the money to cover the purchase price and Joseph Mensik was paid in cash.  Kramer gave petitioner a judgment note in the amount so paid, with the Melvin stock as collateral.  At no time did Kramer ever have possession of any of the stock certificates.  The note to petitioner did not bear interest, and no payments were ever made by Kramer on it.Later in 1951, petitioner suggested that Kramer purchase two lots on a tax foreclosure.  The purchase price of $ 2,250 was supplied by petitioner for which Kramer executed a judgment note in favor of petitioner.  Like the earlier note, this one did not bear*222  interest and Kramer made no payments on it.  Within a short time, Kramer traded the lots for 1,150 additional shares of Melvin stock which likewise were held by petitioner and never came into the possession of Kramer.Under date of December 17, 1953, Kramer and Irene Kunitz, a sister of petitioner, executed an agreement for the purchase by her of the 3,475 shares of Melvin stock issued in Kramer's name.  Irene Kunitz then lived in New York.  She had previously borrowed funds from petitioner with which to live while her husband was ill and the Joseph Mensik estate was being settled.  He had advised her to buy the stock from Kramer.  She was a housewife whose only business experience had been an occasional clerical job.  She moved to Chicago in September of 1954.To pay for the stock, she executed a judgment note for $ 10,000 at 5 percent interest, payable to petitioner, who then discharged Kramer's notes.  She has made no payments of principal on her note, and her first payment of interest was on January 29, 1958.  Subsequent interest payments were made on March 18, 1958, and on May 21, 1958.  The certificate or certificates covering the stock were delivered to her and she posted no*223  collateral for the note.*708  Although she thinks her ownership of Melvin stock is "a little more than half," she has never attended a stockholders meeting but she has had conversations "on it." She is a director and was a director in 1956 but has never attended a directors meeting and was never consulted about loans or purported loans by Melvin to Orville Hodge.At or about the date of the stock purchase agreement between Kramer and Irene Kunitz, Kramer resigned his position with Melvin to become a vice president and director of City Savings and with petitioner to constitute a majority of its executive committee.  As a member of the executive committee, he participated in the approval of loans.  Prior to accepting the City Savings job, Kramer had been employed full time by Melvin for 8 months.  When petitioner organized First Guarantee, he made Kramer its president.Mary Ann Barto, who was secretary-treasurer of Melvin during the taxable year, first became associated with petitioner in 1942, when she applied for a job as his secretary.  Since then, she and petitioner have participated in various business ventures, and she has acted as his nominee on many purchases of real property. *224  She was employed as secretary of First Guarantee from June 10, 1955, when it was organized, until June 30, 1956.All of Melvin's construction work was financed either by City Savings, First Guarantee, or Chicago Guarantee.  During 1956 and for several prior years, City Savings made construction loans to Melvin in amounts of from $ 1 to $ 3 million per year.In transactions in which petitioner had an interest directly or indirectly and with which Carl Melberg, Kramer, or Mary Ann Barto were involved or concerned, they were subservient to petitioner, and where Melvin was a party to such transactions, petitioner, to a substantial degree, determined and directed the manner of their treatment on Melvin's books.In his individual capacity, petitioner established and conducted an insurance-selling business, using the name of City Insurance Agency, and a business of selling money orders and cashing checks for customers of City Savings, using the name of City Currency Exchange.  Using the name Allied Investment Company, he engaged in the buying and selling of real estate and in other business transactions.  City Insurance Agency, City Currency Exchange, and Allied Investment Company were *225  in fact C. O. Mensik.  He was also the sole stockholder of City Safety Deposit Corporation, which leased safety-deposit boxes to customers of City Savings. The offices of City Insurance Agency, Allied Investment Company, City Safety Deposit Corporation, and City Currency Exchange were located in the building owned and occupied by City Savings. In substantial part, if not wholly, petitioner's personal business operations resulted from his relationship with the savings and loan associations.*709  Sometime in 1955 petitioner decided to have Melvin remodel the City Savings Association Building.  The remodeling work was begun in September of 1955, and, except in some minor respects, was completed about the first week in March 1956.Plans for the remodeling were prepared by an architect by the name of Bagnuolo.  It was his estimate that the total cost to City Savings would be $ 125,000.  In the course of the remodeling some items were added which had not been included by Bagnuolo in making his estimate of cost to City Savings. One such item covered the setting up of three offices on the second floor, which would require the building of partitions therefor.  Petitioner was not fully*226  satisfied with Bagnuolo's suggestions as to these rooms, and it was agreed that they would be omitted from his original estimate and would be included as the work progressed.After the work was under way, it was discovered that certain partition walls were supporting walls and when they were removed the joists sagged, and it became necessary for Bagnuolo to redesign the roof structure.  He designed six or seven steel beams which when installed resolved the problem.  The roof had to be shored up so the beams would fall in line.  The cost, which was about $ 10,000, had not been estimated for by Bagnuolo.  Difficulties which had not been anticipated were also encountered in installing the elevator. It became necessary to undermine the existing walls and to provide shoring and additional footings.  In his estimates, Bagnuolo had allowed $ 11,000 to cover the cost of the elevator. A change was made in the doors, resulting in an added cost for the elevator of $ 5,250.  Another of the items probably installed, but not estimated for by Bagnuolo, was air conditioning for the second floor.To reflect the receipts and expenses of the City Savings remodeling job, Melvin opened on its books *227  a ledger account 6 B, entitled "City Svgs Remodeling Job." The debits to this account were supposed to include all expenses for labor, materials, and payments to subcontractors, and the credits were supposed to cover all receipts from City Savings for the remodeling job.  When the work was completed, the total cost to Melvin for the City Savings project, as reflected by the 6 B account, was $ 124,207.26, which included a $ 1,000 bonus to Vernon Melberg, son of Carl Melberg and vice president of Melvin.  2 Also included were payments in a total sum of $ 8,809.55 to one Robert Johnstone.  The payments to Johnstone did not relate to the City Savings remodeling job, but were for work relating to the buildings occupied by First Guarantee and Chicago Guarantee.  Eliminating *710  the payments to Johnstone, the cost to Melvin for the City Savings remodeling job, as shown by Account 6 B, was $ 115,397.71.*228  Beginning with a payment of $ 34,000, under date of October 3, 1955, and ending with a payment of $ 43,000, under date of June 27, 1956, City Savings paid Melvin a total of $ 367,800 for the remodeling work done on its building.  These payments were entered as credits in the 6 B account, as follows:DateAmountOct. 3, 1955$ 34,000Oct. 25, 195548,500Nov. 30, 195529,500Dec. 14, 195510,000Jan. 17, 195615,000Jan. 26, 195620,000Feb. 20, 195615,000Mar. 9, 195645,000Mar. 12, 195661,000May 28, 195646,800June 27, 195643,000367,800On January 17, 1956, and in connection with the preparation of Melvin's 1955 income tax return, Melvin's accountant, Leon Winterhalter, discussed the City Savings job with Carl Melberg and petitioner.  Winterhalter was instructed by petitioner that no income was to be reported by Melvin in its 1955 return, but that when the job was completed, Melvin was to report a profit of 20 percent, with an allowance of 10 percent for overhead.  As of December 31, 1955, Account 6 B showed payments received of $ 122,000 and expenditures by Melvin of $ 44,969.50, or a credit balance of $ 77,030.50.Early in 1957, and in connection *229  with his preparation of Melvin's 1956 income tax return, Winterhalter discussed the 6 B account with Carl Melberg and petitioner.  Melberg took the position that Account 6 B did not reflect the total cost to Melvin on the City Savings job.  It was his position that a great deal of material from other projects was trucked to and used in the City Savings remodeling. In the course of this discussion, Winterhalter was instructed to transfer $ 50,000 of a total of $ 52,800 from unallocated inventory, which was done, thereby bringing the cost of the City Savings job, as reflected by Winterhalter's worksheets, to $ 174,207.26.  Winterhalter was also directed to add an additional $ 82,000 as cost of the City Savings remodeling. Of that amount, $ 60,000 was transferred from the account covering administrative and overhead expenses.  The remaining $ 22,000 was covered by entries which were entirely fictitious and were described as engineering cost for the City Savings job, with a like amount being recorded as engineering income.  Melvin received no such $ 22,000 of engineering income, and similarly did not spend the $ 22,000 for engineering services.  Winterhalter made the change in Melvin's*230  accounting records in accordance with petitioner's directions, noting at the time on his work papers that the changes were "Per C. O. Mensik." With the addition of these amounts as cost, Melvin's 1956 income tax return *711  reflected the total cost to Melvin for the City Savings remodeling job as $ 256,207.26.Administrative expenses, as reflected by Melvin's books, covered office expenses and supplies, directors' fees, insurance, employees' welfare payments, unemployment compensation, and social security taxes.  As so shown, Melvin's administrative expenses for 1956 were $ 106,029.68, of which, in reporting its income on its 1956 return, $ 60,000 was carried into cost of sales as part of the cost of the City Savings remodeling job, and the remainder of $ 46,029.68 was claimed on the income tax return under other deductions.  As reported, Melvin's gross sales receipts for 1956 amounted to $ 2,235,145.93, of which $ 367,800 was approximately 16 1/2 percent.The adjustments made by Winterhalter in preparing Melvin's 1956 return, and shown on his worksheets as having been made "Per C. O. Mensik," did not result in any change in the income tax liability of Melvin as shown by its *231  return, even though gross income as reported included $ 22,000 as engineering income, which was never received.  On the return as filed, a net loss of $ 50,458.70 was reported, of which $ 30,340.40 was for 1956 and $ 20,118.30 was brought forward from the 4 preceding years.Winterhalter had been making Melvin's income tax returns since 1952.  In making those returns he had never before charged any specific project with unallocated inventory as of the end of the year.  Neither had he ever charged any portion of the administrative expenses to a particular job.  He had never before been instructed by petitioner or anyone acting for Melvin to make such charges.The ultimate statement of $ 256,207.26 as the cost to Melvin for the City Savings remodeling job was a gross overstatement of actual cost and the payment of $ 367,800 by City Savings to Melvin therefor was a gross overpayment for the work actually done.During the years pertinent herein, the responsibility for supervising savings and loan associations in Illinois was vested in the auditor of public accounts.  IllinoisSavings and Loan Act of 1955, Ill. Rev. Stat. ch. 32 (1957).  The issuance of the charters of First Guarantee and*232 Chicago Guarantee in June of 1955 was made by Orville Hodge as such auditor. Though in section 5-9 of the 1955 Act 3 it was provided that an association might not invest more than 5 percent of its assets *712  in its own building, without the approval of the auditor, both First Guarantee and Chicago Guarantee invested some 10 to 15 percent of their assets in their own buildings without having obtained such approval.  On some undisclosed date or dates thereafter, Hodge formally made retroactive approval of the expenditures.*233  On September 12, 1955, petitioner received a check for $ 90,000 from Melvin, which he deposited in his personal bank account on September 13, 1955.  The next day, September 14, 1955, he made a further deposit of $ 65,000 in cash, and on the same day drew a check for $ 155,000 payable to Hodge.  4*234  On or about January 27, 1956, petitioner sold three lots described as 5920 North Avenue, the property on which the building occupied by First Guarantee is located, to Melvin.  This purchase was entered by Melvin in its Ledger Account No. 11, entitled "Real Estate Investments," at a cost of $ 165,000.  The ledger entries reflected one payment of $ 60,000 on January 27, 1956, and two payments on February 6, 1956, of $ 100,000 and $ 5,000.  The payments of $ 100,000 and $ 5,000 on February 6, 1956, were covered by two checks payable to Allied Investment Company.  Bearing the same date, petitioner, as Allied Investment Company, executed an instrument in the form of an unsecured judgment note, payable to Melvin, in the amount of $ 105,000.  Upon receipt of the $ 100,000 check, petitioner endorsed it and returned it to Melvin.  Under date of December 31, 1956, an accounting entry was made on Melvin's books to show the $ 100,000 as a debit to notes receivable instead of a debit to "Real Estate Investment" as a payment on the purchase price of the lots at 5920 North Avenue.  5*235  Melvin's corporate minutes reflect a meeting of its board of directors on February 14, 1956, at which a motion was adopted that in order to further the business of Melvin, surplus funds could be advanced through loans to Melvin's employees, officers, clients, or other persons who generally would promote its business.*713  On March 2, 1956, petitioner wrote a letter to Carl Melburg, as president of Melvin Building Corporation, as follows:Dear Carl:I wish at this time to recommend that you make a loan to help a state official, Orville E. Hodge with a 60 to 90 day loan to pay for construction bills, furniture and the existing mortgage on his Esquire Apartments, which will be paid back to you from the proceeds of a $ 200,000.00 mortgage that I am making on the Esquire Apartment Hotel in May of this year.Mr. Hodge is very enthusiastic about construction lending for savings and loan associations, which is what we are interested in, as I believe, new properties will stand up much better for resale value if business conditions should change in the future; also as you know, a builders business is depended [sic] on the financing of his sales and with him in office, savings and*236  loan association [sic] in general will be able to make all the construction loans they want.Your help will be greatly appreciated in helping Mr. Hodge, as he is up for election and his political expenses will be very heavy this year.Sincerely,/s/ C. O. MensikCity Savings AssociationUnder date of March 12, 1956, Melvin Building Corporation issued a check for $ 76,312.50 payable to the order of Orville E. Hodge.  The canceled check shows that it was cashed on March 14, 1956, bearing as the endorsement "Orville E. Hodge, Hodge Agency." Bearing date of March 12, 1956, Hodge purportedly executed in favor of Melvin Building Corporation an unsecured judgment note in the amount of $ 76,312.50 due in 90 days but with no provision for the payment of interest.On May 11, 1956, Hodge, as petitioner had indicated in his March 2 letter would occur, received a loan of $ 200,000 from City Savings, secured by a mortgage on the Esquire Apartment Hotel property located in Fort Lauderdale, Florida.  No part of this mortgage money was used to repay any part of the above $ 76,312.50 which Melvin had purportedly loaned to Hodge following the receipt of the March 2 letter from petitioner.On June*237  29, 1956, some 49 days after Hodge had received the $ 200,000 loan from City Savings and when the March 12 note was in default, Melvin issued two checks for $ 50,000 each, for the purported purpose of making a further loan of $ 100,000 to Hodge.  One of the checks was made payable to cash and the other to City Savings. The check payable to cash was endorsed by Mary Ann Barto, who cashed it at the Merchants National Bank, receiving $ 50,000 in currency, which she delivered to petitioner.  The canceled check for $ 50,000 made payable to City Savings carried a stamped endorsement "For deposit only -- City Savings Association -- R.  Cimms." Two judgment notes were purportedly executed by Hodge under date of June 29, 1956, *714  for $ 50,000 each.  The notes, which were unsecured, provided for the payment of interest at the rate of 6 percent, but bore no due date.  6 Neither Hodge nor anyone else has ever made any repayments to Melvin on either the $ 76,312.50 or the $ 100,000 and the amounts represented thereby were deducted by Melvin on its 1956 return as bad debts.*238  On or about July 15, 1956, Hodge was faced with charges that he had embezzled funds of the State of Illinois.  He resigned from his office of auditor and was thereafter sent to prison.  On July 17, the petitioner received a check for $ 200,000 from Melvin, and 2 days later, using the proceeds of the check, purchased the mortgage on the Esquire Apartment Hotel from City Savings for $ 200,000.  Bearing date of July 17, the date of the $ 200,000 check, petitioner executed an instrument in the form of a judgment note payable to Melvin 5 years from date, with interest at 4 percent, in the amount of $ 200,000.  7*239  In no year prior to 1956, did Melvin lend, or purport to lend, large amounts to its officers, employees, or others.  On its 1955 return, loans to officers and employees were shown in the amount of $ 22,187.01.  According to its 1956 return, Melvin had loans outstanding as of December 31, 1956, to officers and employees in the amount of $ 400,093.18.  This amount was exclusive of loans, or purported loans, to Hodge, but included the loans, or purported loans, to petitioner.Melvin's 1956 return disclosed the following as its income or net losses for the years 1952 through 1956: *715 Income orYear(net loss)1952($ 80,455.05)19533,717.37&nbsp;195453,069.77&nbsp;19553,549.61&nbsp;1956(30,340.40)In February of 1957, petitioner sold the Esquire Hotel mortgage back to City Savings for $ 188,000, 8 but did not repay any of the $ 200,000 which had been received from Melvin and used in acquiring the mortgage from City Savings.*240  Elbert S. Smith, who had become auditor for the State of Illinois, took custody of First Guarantee and Chicago Guarantee on or about February 15, 1957.  He ordered an examination of City Savings. The report of examination as of the close of business on February 16, 1957, was mailed to City Savings under date of April 16, 1957, and received at the office of City Savings on or about April 18.  The letter of transmittal criticized certain practices of the association and challenged certain appraisals and valuations with respect to properties covered by loans which had been issued.  Among the matters criticized were the terms of occupancy of space in City Savings' office building by various of petitioner's personal enterprises; absence of a reserve for loss on the bond account, which account consisted of United States Treasury bonds; certain loans in excess of $ 3 million; the volume of construction loans by City Savings; the matter of the ratio of operating expense to gross operating income; the reorganization of the board of directors and selection of management; and a potential net deficit in realizable "value" of assets over liabilities to creditors and members.  Thirty days was *241  stated as the reasonable time within which correction of the questioned practices might be made.On April 23, 1957, the report of examination of City Savings was given to representatives of Chicago metropolitan newspapers by representatives of Auditor Smith, with the understanding that, under certain circumstances, the newspapers were free to disseminate the information contained in the report.  At 4:42 on the afternoon of the same day, Mensik personally filed a suit against Smith and five of his subordinates.  Late the next afternoon, one of the daily papers of general circulation in the Chicago area, carried a story referring to City Savings, Chicago Guarantee, and First Guarantee and to the report of Auditor Smith.  It was stated that the confidential report noted that Mensik conducted his business in such a way that the auditor *716  might well be justified in finding that the business of the association was being conducted in a fraudulent, illegal, and unsafe manner.  On the morning of April 25, a "run" occurred at City Savings, and Smith, as auditor, assumed custody about noon.Thereafter, petitioner filed an action to enjoin further custody of City Savings by Auditor Smith. *242  The style of the suit was C. Oran Mensik, Robert Kramer and Anne Jerabek, as Officers of City Savings Association, Plaintiffs, v. Elbert S. Smith, Auditor of Public Accounts of the State of Illinois, Defendants.  After preliminary matters, including a challenge of the court's jurisdiction, were ruled upon, the case proceeded to hearing before a master.  The hearing continued from June 17 to July 12, 1957, during which Mensik gave oral testimony.  9*247  The master made his report in August, and after ruling on objections and hearing oral arguments, the court entered its order in December, holding that the taking of custody by the auditor was illegal.  As grounds, it was stated that the auditor had abused his discretion in taking custody before the 30 days had elapsed in which City Savings was to have had the opportunity to correct the practices criticized, and in releasing the report of his examination to the press, thereby creating a condition which endangered the rights of creditors and depositors of City Savings. The court concluded factually that City Savings was solvent, based upon an evaluation of its assets and liabilities in accordance with sound and accepted accounting principles. *243  It rejected certain appraisal values adopted in the report of examination, and concluded that the report's schedule of "loans subject to comment" was inaccurate and misleading.  It further found that space in City Savings' office building was occupied by City Safety Deposit Corporation, City Insurance Agency, and City Currency Exchange, which were wholly owned by Mensik, and that the rentals received for space, services, and facilities were inadequate; that the operating expense ratio to income for the calandar year ended December 31, 1956, amounted to 42.8 percent of gross operating income, and was excessive; that Mensik was director, president, and executive, and managing officer of City Savings, and at the same time was owner of "98" percent of the stock of Chicago Guarantee and "96" percent of the stock of First Guarantee, and was chairman of the board of First Guarantee and a member of the board of Chicago Guarantee; that Alexander J. Pikiel was attorney for City Savings, First Guarantee, and Chicago Guarantee; that based on appraisals of four named individuals, the fair cash market value of the "office building" of City *717  Savings was $ 600,000; 10 that on loans involving*244  a total of $ 50 million City Savings had not suffered any loss since Mensik had been managing officer; and that the office building of City Savings was carried on its books at a value which was excessive in the amount of $ 72,210.  It was concluded that as a matter of law the seizure of City Savings by the auditor was illegal, in that the auditor had abused his discretion in releasing the report of examination to the press and in taking custody before allowing reasonable time, specified as 30 days, within which to correct the conditions and practices criticized in the report; that Mensik owned a fiduciary obligation to withdrawable stockholders of City Savings; that Mensik might not retain any substantial ownership and control in any other savings and loan association in the State of Illinois while he was a director, president, and managing officer of City Savings; and that he might not enter into any business transactions wherein all of the profits did not inure to the benefit of City Savings, where City Savings was a party, on one hand, and Mensik, or a corporation or proprietorship owned or controlled, directly or indirectly, by him, was a party on the other hand.  It was ordered*245  that the officers and directors of City Savings be permitted immediately to resume control of the operation and management of City Savings, subject to continued jurisdiction of the court; that all delinquent loans be required to be made current within 90 days from the date of the order, or foreclosure proceedings be immediately instituted; that all multiple borrowers be required to further collateralize all present loans to the extent of 6 percent of their present unpaid balances, before being granted any further loans; that the value of City Savings' "office building" be carried on its books at a value of $ 600,000 as of April 30, 1957; that the ratio of operating expense to gross operating income be revised downward to not in excess of 25 percent; that Mensik divest himself of all management and control of First Guarantee and Chicago Guarantee, and so long as he remained president and chief managing officer of City Savings, not associate himself in a management capacity with any other savings and loan association; that Attorney Pikiel be permanently enjoined from serving City Savings and any borrowers in the same transaction, and from serving City Savings and at the same time serving*246  any other person in any transaction with City Savings; that Attorney Pikiel pay to City Savings a fair rental for the space occupied by him in the office of City Savings; that the officers *718  and directors of City Savings, and their agents, subordinates, and employees, be permanently enjoined from continuing or creating an officer's escrow account, and that they thereafter create no escrow account other than that pursuant to which the particular transaction by City Savings and borrower demands the creation of an escrow account to complete such transaction; that steps be taken to assure the payment of adequate rentals by Mensik's individual enterprises; that the officers and directors of City Savings and their agents, subordinates, and employees were not to pay any of the salaries of any employees of Mensik's City Safety Deposit Corporation, City Insurance Agency, and City Currency Exchange; and that with respect to compliance with the terms of the order, periodic reports be made to the court by the officers and directors of City Savings, or their agents, employees, or subordinates.The overpayment of City Savings funds to Melvin under the guise of payments for the remodeling of the City Savings Building was advisedly arranged by petitioner and some part, if not all, of the overpayment was thereafter paid over by Melvin to petitioner and was received and used by him as his own.In October of 1954, but presumably not later than October 21, Irene L. Kunitz, for an undisclosed price, purchased a tract of land consisting of one entire side of the 5000 block of West Jackson Boulevard in*248  Chicago.  The tract was divided into lots numbered 1 to 13.  Lot 1 was commonly referred to as 5000 West Jackson Boulevard.  In purchasing the lots, she made a downpayment of $ 5,000, supplied by petitioner, the seller receiving a check for $ 5,000 drawn on petitioner's Allied Investment Company account.  Under date of October 21, 1954, she entered into a contract to sell the 13 lots to Melvin for $ 80,800, of which $ 60,800 was to be paid in cash and the remaining $ 20,000 on or before February 15, 1955.  On Melvin's books of account the entire $ 80,800 was shown as having been paid for lots 2 to 13.  The entries did not reflect purchases of the lots as a unit, or as individual lots, but were "Lot 2 &amp; E 23' of Lot 3 -- 7,934.03"; "W 18' of Lot 3, all of Lot 4 &amp; E 5' of Lot 5 -- 7,933.03"; and so on.  In that manner, the purchase of lots 2 to 13, inclusive, were entered on Melvin's real estate investments account as nine units.  No amount was shown as paid for lot 1, and no entry was made on Melvin's books showing the purchase of lot 1.Under date of March 29, 1956, a construction loan of $ 60,000 to Melvin to cover construction of a building at 5000 West Jackson Boulevard, on or *249  including lot 1, was entered by City Savings on what was referred to as a loans and processing card.  The first payment to Melvin of loan proceeds was $ 25,935 on March 31, 1956.  In addition to a 3-percent service charge of $ 1,800 and a $ 100 appraisal charge, a total of $ 33,977.25 had been disbursed by City Savings under the *719  loan to or for the benefit of Melvin, up to and including May 25, 1956, as follows:DateAmountMar. 31, 1956$ 25,935.00Apr. 14, 19563,000.00May 8, 1956550.00May 9, 1956100.00May 9, 195611.00May 9, 1956436.25May 18, 1956290.00May 22, 1956380.00May 25, 19563,275.00Under date of May 25, 1956, an entry was made in Melvin's real estate investments account showing a payment of $ 10,000, by check, to Allied Investment Company, in payment for lot 1 at 5000 West Jackson Boulevard.  Melvin's check for $ 10,000, dated May 28, 1956, payable to Allied Investment Company and endorsed Allied Investment Company, by C. O. Mensik, was thereafter cleared through the Continental Illinois National Bank &amp; Trust Company of Chicago on June 2, 1956.  On March 11, 1957, petitioner issued a check to Melvin for $ 10,000 on his Allied Investment*250  Company account.  11 This payment on March 11, 1957, was credited by Melvin as a payment on its notes receivable and was still so recorded at the time of trial herein.  As for Melvin's real estate investments account, it has continued to show the $ 10,000 paid to petitioner in May of 1956 as the cost of lot 1 at 5000 West Jackson Boulevard.*251  During the years 1950 to 1956, inclusive, petitioner bought and sold numerous parcels of real estate. He made 3 sales of real estate in 1950; at least 3 in 1951; 5 in 1952; 8 in 1953, of which 6 were to Melvin; 8 in 1954, none of which were to Melvin; 10 in 1955, of which 5 were to Melvin and 2 in 1956, of which 1 was to Melvin.  Whether any of the sales prior to 1953 were to Melvin does not appear.Compared to his total gains on all real estate sales, the following amounts were received by petitioner as gains from sales of real estate to Melvin, in the years 1953 to 1956, inclusive:YearAmount of gain onTotal gain on allsales to Melvinreal estate sales1953$ 40,888.13$ 41,766.67195460,178.041955495,266.71512,204.63195633,304.7033,396.73*720  On his income tax returns for the years 1953 to 1956, inclusive, petitioner reported income from sources other than real estate sales as follows:YearCity SavingsCity InsuranceSecurityDividendsAssociationAgencytransactionsand interest1953$ 36,231.76(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;($ 10,062.13)$ 900.00195440,300.00$ 14,595.269,246.67&nbsp;4,892.36195540,300.0018,710.664,611.30&nbsp;22,763.00195639,000.0011,610.02(9,989.66)25,160.69*252 For a number of years, petitioner had had a real estate brokerage license.  He did not, however, hold himself out to the public as a real estate dealer, and did not collect commissions on sales of real estate for others.  Under his broker's license he was qualified as a real estate appraiser.  12 He employed a man by the name of Ralph Emerson who served petitioner in his real estate buying activities, particularly in the checking of titles.For income tax purposes, petitioner reported his gains on the sale of real estate as capital gain.  In addition, he also reported $ 2,648 as capital gain in 1956, being the gain derived from the redemption of real estate tax certificates he had acquired for his own account.The respondent in his determination of deficiency determined that*253  petitioner's gains from the sale of real estate and from the redemption of tax certificates in 1956 were ordinary income.The real estate sold by petitioner during 1956 was held by him primarily for sale to customers in the ordinary course of his business.  The tax certificates on the redemption of which the gain was realized in 1956 were also bought and disposed of in the ordinary course of petitioner's business.Under date of April 17, 1956, petitioner caused City Savings to issue a check for $ 6,800 payable to Commercial Broadcasters, an advertising agency in Chicago.  The record basis for the issuance of the check was a statement of charges, dated April 1, 1956, written on an invoice form used by Commercial Broadcasters.  Typed on the form was the following statement: Radio and TV advertising as per contract in connection with April Primary for large vote 1956 for State of Illinois, of this amount $ 2800. for state candidates -- $ 6800.00Below this typed statement, petitioner, in his handwriting and on some undisclosed date, made the following notation: "$ 100 a candidate for assembly, for those friendly to Savings and Loan Business."Commercial Broadcasters never did*254  any advertising for City *721  Savings or for petitioner.  It issued no such invoice, and never received the $ 6,800 check of City Savings. The check, when cashed, was endorsed "Commercial Broadcasters -- D Eddleson." Dave Edelson was manager of Commercial Broadcasters.  The signature was not that of Dave Edelson and was not authorized by him.  The check was not cashed by Commercial Broadcasters or anyone for them.In late March or early April of 1956, Orville Hodge made arrangements with Commercial Broadcasters for an advertising campaign exclusively on behalf of President Eisenhower.  None of this advertising referred to candidates for the State legislature.  Commercial Broadcasters sent Hodge an invoice dated April 11, 1956, for $ 6,245.01.  Hodge paid $ 6,000 by his personal check, and Edelson wrote off the balance as a political contribution by him.The respondent determined that the $ 6,800 so paid out by City Savings constituted taxable income to petitioner.Of the insurance sales made by petitioner, under the name of City Insurance Agency, some sales were to his employees and employees of City Savings, and to friends and relatives.  On his insurance sales, petitioner *255  was entitled to a commission of 20 percent of the initial premiums. The transactions here in question were customarily handled in the following manner: Upon placing an order for a policy with an insurance company, petitioner would be billed for the gross premium, which was the amount to be charged to the customer. He would remit to the company an amount equal to the gross premium less the 20 percent he was to receive as a commission.  Instead of paying the gross premium, as was required of petitioner's other customers, the employees, friends, and relatives subtracted 20 percent before making the premium payment to petitioner.  This was in accordance with their understanding with him.  In so doing, petitioner waived payment by such purchasers of the commissions earned by him on the business done for the insurance companies.In one instance during 1956, he followed a different procedure.  Midland Life Insurance Company charged petitioner the full gross premium and refunded to him at a later date a commission in the amount of $ 13.40.  In that instance, the employee paid the full premium, but $ 13.40 was subsequently returned to him by petitioner.The amount of the commissions so earned*256  on insurance sold to his employees and employees of City Savings and to relatives and friends in the manner described, the payment of which was so waived by him, was $ 2,357.43.  13 No part of the $ 2,357.43 was reported by petitioner as income on his 1956 return.*722  The respondent in his determination of deficiency determined that petitioner had realized income in the form of unreported commissions from the sale of insurance during 1956 in the sum of $ 2,357.43.On July 1, 1955, petitioner, "doing business as City Insurance Agency," executed identical agreements with First Guarantee*257  Association and Chicago Guarantee Association, which petitioner had organized during the month preceding.  In each instance, the contract recited the agreement of petitioner to spend up to $ 55,000 for advertising and promotion of the business of the associations between July 1, 1955, and July 1, 1956, and that in return the association should "recommend and give all of the insurance business of its members and of its own" to petitioner "for a period of five years with a renewal clause for an additional five years if $ 100,000.00 in insurance commissions" should not be earned during the first 5 years of the agreement.  Each contract further recited that the insurance commissions should begin to apply against the expenditures made by petitioner at January 1, 1956.Pursuant to the contracts, petitioner paid $ 17,295.14 in 1955 and $ 32,076.14 in 1956 for advertising on behalf of First Guarantee, and $ 18,374.84 in 1955 and $ 36,284.84 in 1956 for advertising on behalf of Chicago Guarantee.  These payments were made by checks drawn on petitioner's Allied Investment Company bank account.During 1956 petitioner also expended $ 169 in advertising his insurance business conducted under the*258  name City Insurance Agency.During 1956 petitioner received commission income of $ 5,139.81 from insurance premiums on business originating with First Guarantee, either from the association itself or from its "loan accounts," and commission income of $ 3,812.12 from insurance premiums on business similarly originating with Chicago Guarantee, or a total of $ 8,951.93 for the two.Petitioner claimed a deduction of $ 9,120.93 on his 1956 return as advertising expenses.  Of that amount, $ 169 represented the expenditures made in advertising his City Insurance Agency business.  The remainder, or $ 8,951.93, was the same in amount as the commission income on insurance business received from and through First Guarantee and Chicago Guarantee.  No deduction was claimed for the excess of the $ 32,076.14 expended in that year in behalf of First Guarantee and the $ 36,284.84 expended in behalf of Chicago Guarantee over the $ 8,951.93 which was deducted.On June 9, 1955, petitioner, under the name City Insurance Agency, paid $ 9,000 to Medic Building as rent for 20 months in advance, commencing July 1, on the premises to be and later occupied by Chicago Guarantee.  During 1955 he was reimbursed*259  by Chicago Guarantee for $ 2,000 of the rent so paid, leaving $ 7,000 as the net payment by petitioner to Medic Building in behalf of Chicago Guarantee.  In *723  reporting his City Insurance Agency income for 1955, petitioner deducted as rent $ 2,700 of the said $ 7,000.  In his 1956 return, he similarly deducted the remaining $ 4,300, which deduction was disallowed by the respondent in his determination of deficiency herein.  14*260  During 1956 First Guarantee and Chicago Guarantee paid premiums on fire insurance policies purchased through petitioner.  A subsequent inspection of the buildings occupied by the associations showed the structures to be fireproof, thereby entitling the associations to lower premium rates.  On September 27, 1956, petitioner received a refund of $ 6,166.42 from the insurer on the premiums which had been paid through him by the two associations.  He deposited the $ 6,166.42 in his City Insurance Agency account in Manufacturers National Bank.  None of the premium refund so received by petitioner had been repaid to First Guarantee or Chicago Guarantee as of the trial of this case.The respondent determined that the premium refund was taxable income to petitioner in 1956.In June of 1957, Internal Revenue Service agents began an investigation of petitioner's 1956 return.  After being contacted by one of the agents, petitioner made certain records available to them during July, August, and September of 1957.  But on February 24, 1958, petitioner informed the agents that pursuant to advice from his accountants, he would not permit them to see his other books and records until a complete audit*261  had been made.On June 17, 1958, the respondent made a jeopardy assessment of a deficiency in the amount of $ 547,967.55 and an addition to tax for fraud in the amount of $ 273,983.78 against the petitioner for the taxable year 1956.A deficiency notice was mailed to petitioner on July 11, 1958.  It contained the following adjustments to petitoner's income:Additional income and unallowable deductions:(a) Receipts from sale of property$ 83,449.54(b) Other income327,824.04(c) Unexplained bank deposits150,416.36(d) Income from insurance agency58,068.52(e) Interest income102.45(f) Itemized deductions15,329.02Total715,201.49Nontaxable income and additional deductions:(g) Capital gains$ 16,137.51(h) Standard deduction1,000.0017,137.51Taxable income adjusted698,063.98*724  It is the stipulation of the parties that the above item (b), "Other income," was comprised of a number of items determined by respondent as constituting taxable income to petitioner from City Savings Association and Melvin Building Corporation, as follows:(1) Travel expense allowance paid to C. O. Mensikby City Savings Association$ 3,000.00(2) Payments to H &amp; H Cigar Store determined to befor the benefit of C. O. Mensik1,614.63(3) Check disbursed by City Savings Association payableto Commercial Broadcasters6,800.00(4) Payments from City Savings Association "escrowaccount"60,000.00(5) Receipts from Melvin Building Corporation forreal estate80,096.91(6) Remainder of adjustment (b)176,312.50Total327,824.04*262  At the trial, items (b)(1), (b)(2), (b)(4), (c), (e), and (f) were conceded by the respondent.  Item (a) was reduced to $ 33,941.88, item (b)(5) to $ 10,000, and item (d) to $ 21,944.78, this latter amount being the sum of $ 2,357.43 of insurance commissions waived, $ 9,120.93 deducted as advertising, $ 4,300 claimed as a rent deduction, and $ 6,166.42 representing fire insurance premium refunds. With respect to item (b)(6), the respondent, by amendment to his answer, has made claim for an additional amount which, when added to the $ 176,312.50 covered in his deficiency determination, brings the amount now claimed for that item to $ 206,330.56.Part of the deficiency herein is due to fraud.OPINION.At the outset, the petitioner contends that because of concessions made by the respondent at the trial herein, it follows that his determination of deficiency was arbitrary and capricious and should not be accorded its usual presumption of correctness.  With respect to the first of the issues stated, the respondent has made no concession, but to the contrary, now claims, by amended answer, that the amount in issue should be increased from $ 176,312.50, as originally determined, to $ 206,330.56. *263  There is, of course, no presumption of correctness as to the additional amount now claimed, but as to $ 176,312.50 covered in respondent's determination of deficiency, the presumption of correctness continues.  As to the issues wherein the respondent has conceded the dollar amount of the items in whole or in part, the petitioner's argument is identical to the one we rejected in *725 Fada Gobins, 18 T.C. 1159"&gt;18 T.C. 1159, affirmed per curiam 217 F. 2d 952, and similarly, we reject the argument here.  In Fada Gobins, supra at 1168, we said:It is the contention of counsel for the petitioner that, by reason of these concessions at or in the course of the trial, the burden of proof as to the correctness of the deficiency has shifted from the petitioner to the respondent.  The contention is wholly devoid of merit.  The concessions made by counsel were not only in the interest of orderly procedure, but they relieved petitioner of a substantial portion of her burden of proof and this court of what could have been an even longer and more burdensome trial.  His action was in keeping with his duty as a lawyer*264  and officer of the Court.  To rule with petitioner, would be to say that counsel, whether for respondent or petitioner, who, by concession or stipulation of pertinent facts, relieves opposing counsel of a portion of his burden of proof and the Court of needless labor, does so at the jeopardy of having the burden of the opposing party as to remaining matters shift to himself.  Justice and common sense would countenance no such rule.See also William O'Dwyer, 28 T.C. 698"&gt;28 T.C. 698, 705, affd.  266 F.2d 575"&gt;266 F. 2d 575.In his determination of deficiency, the respondent determined that petitioner had received unreported income of $ 327,824.04, comprised of a number of items constituting taxable income to him from City Savings Association and Melvin Building Corporation.  The $ 327,824.04 was made up of six items, of which $ 176,312.50 was in the same amount as two payments made by Melvin at the instigation of petitioner as purported loans to Orville Hodge.  The first of the purported loans was in the amount of $ 76,312.50, on March 12, 1956, on which date City Savings had paid $ 61,000 to Melvin, purportedly in respect of the remodeling of its building, *265  which payment had brought the total of such payments by City Savings to Melvin to $ 277,500.  The second purported loan was set up as two loans for $ 50,000 each, on June 29, 1956, 2 days after City Savings had made a payment of $ 43,000 to Melvin, purportedly the final payment in respect of the remodeling of its building, which payment brought the total of such payments to Melvin by City Savings to $ 367,800.As the basis for increasing his claim from $ 176,312.50 to $ 206,330.56, respondent uses $ 124,207.26, shown by Melvin's Account 6 B as the cost to Melvin of the City Savings remodeling job, as Melvin's actual cost for the job.  To that amount, he has added 10 percent for overhead and 20 percent as profit to arrive at $ 161,469.44 as the cost to City Savings for the remodeling work done, and at the difference between $ 161,469.44 and the $ 367,800 paid, or $ 206,330.56, as City Savings funds diverted through Melvin to or for the benefit of petitioner, in the guise of loans to Hodge and to petitioner.It is the contention of petitioner that the cost to City Savings for the remodeling work done by Melvin was fixed by contract at $ 367,800; that $ 367,800 was the amount City Savings*266  was obligated to pay and the amount it paid; that there was no payment of an excessive amount *726  by City Savings to Melvin which could represent City Savings funds diverted through Melvin to him or for his benefit; and that though both he and Hodge did receive payments from Melvin, they were bona fide loans, and no part thereof was or properly could be regarded as income to him.Plans for the remodeling were prepared for City Savings by Bagnuolo, its architect, who estimated that the cost to City Savings would be $ 125,000.  In other words, it was his estimate that a payment of $ 125,000 by City Savings should cover the actual cost to the contractor for the remodeling and the profit to the contractor thereon.  We do not have a breakdown of the $ 125,000 as between cost and profit, and hence do not know how much of the $ 125,000 represented Bagnuolo's estimate of cost to the contractor. In any event, the amount actually paid by City Savings to Melvin was $ 367,800, not $ 125,000, and the parties are immediately at odds as to the scope of the work actually done and the cost to Melvin therefor.  In justification of the $ 367,800 payment, petitioner, when on the witness stand, *267  went so far as to testify that Bagnuolo's plans were simply for a room layout and elevator installation, and "had nothing to do with 98% of the work that was done." This statement, in our opinion, was so gross in exaggeration that it requires no comment.  There were, however, some costs in the completed work which had not been estimated for by Bagnuolo but which were covered by Bagnuolo in his testimony.  Petitioner, in his own behalf, described numerous other items not covered by Bagnuolo in his plans as having been included in the work done, and to the extent that they were in fact covered by the work done they too could supply a proper basis for a payment by City Savings to Melvin over and above the $ 125,000 estimated by Bagnuolo.One item contemplated from the beginning, but not included in the $ 125,000 estimate, involved partitions on the second floor to create three offices to be used for closing contracts.  Petitioner was not fully satisfied with Bagnuolo's suggestions, and it was agreed that the partitions would be omitted from the original plans and worked out later.  In addition, some problems which had not been anticipated arose as the work progressed.  To solve some *268  structural difficulties which were encountered, six or seven steel beams were designed by Bagnuolo and installed and supporting members of the roof structure were strengthened.  It also became necessary in connection with the installation of the elevator to undermine certain existing walls and to provide shoring and additional footings.  Bagnuolo worked out solutions to these problems as they arose.  A further variation from the original plans was a change in the elevator doors.Petitioner rests his claim of $ 367,800 as the actual and bona fide cost to City Savings for the remodeling job on two purported contracts *727  between City Savings and Melvin.  The first such document bears date of September 10, 1955, and called for a payment of $ 321,000.  The second such document bears date of January 20, 1955, and called for a payment of $ 46,800.  It was petitioner's testimony that the second document was executed on the day and month indicated but in 1956, and not in 1955.The document bearing date of September 10, 1955, called for the remodeling of the City Savings building "as per architect plans plus all items listed on the second page of this contract." The "plus" items, 19 in*269  number, were listed on two additional sheets and included some items which had been covered by Bagnuolo in his plans and estimate and some which had not been so covered.  Partitions, except as above noted, plumbing, electrical wiring, and fixtures on the second floor had been covered, except that the fixtures used by Bagnuolo in his estimates were less expensive than $ 75 per fixture, which was specified as the maximum price per fixture in the so-called "plus" item.  There is, however, no proof as to the cost of the fixtures used, and beyond the broad assertions in Mensik's testimony, no indication that the actual cost was greater than Bagnuolo had estimated.  Other so-called "plus" items which had been covered by Bagnuolo in his plans were five washrooms, new counters, a new rear door, replacement of a front door with a window, a stairway to the roof, a vault, 15 a washroom on the first floor, and the elevator. The elevator actually installed was an Otis elevator which was of competitive price with the indicated Westinghouse but with doors which resulted in added cost.  Not covered by Bagnuolo in his plans but included as "plus" items in the document, were air conditioning for *270  the second floor; "heating, piping radiators to all rooms" on the second floor; rubber tiling for all rooms, and a "cement sponge" base therefor; the steel beams later designed by Bagnuolo and installed, as above described; a flowerbed on the front of the building; tuck pointing of walls "where needed," and installation of iron guards "in front of windows and closing room on second floor"; painting and papering the walls on the second floor; Celotex ceilings for the second floor; provision for laborers, at the disposal of City Savings, for cleaning up the debris and to move desks, furniture, etc.; and provision for having the work done overtime and on Sundays "when requested."*271  The document bearing date of January 20, 1955, had to do with the first floor of the City Savings building, and provided for a new terrazzo floor; new light fixtures, with a maximum price of $ 75 per fixture; *728  three coats of paint or wallpaper not to exceed $ 20 per roll; a washroom and counter adjoining a private office; waxing and polishing; and the remodeling and enamelizing of Celotex ceiling.  There was also a provision that the "general remodeling of the first floor" be done on an overtime basis so that the conduct of business would not be hampered.With respect to the first floor, Bagnuolo's plans and estimate covered a washroom on the first floor adjacent to the elevator and the first floor work which was related to the elevator and its installation.  They did not otherwise include the items listed above from the second document.Whether the so-called "plus" items, or any appreciable portion of them, which were not covered by Bagnuolo's plans or worked out by him as the work progressed were in fact included in the work done by Melvin, we are satisfied that the work was not done pursuant to or under the written documents bearing dates of September 10, 1955, and January*272  20, 1955, and calling for payment of $ 367,800 by City Savings to Melvin.  At December 31, 1955, the payments by City Savings to Melvin had amounted in the aggregate to $ 122,000, and the expenditures by Melvin on the remodeling work to $ 44,969.50.  On January 17, 1956, Winterhalter, Melvin's accountant, discussed the remodeling job with petitioner and Melberg, in preparation for the filing of Melvin's 1955 income tax return.  He was instructed that no part of the payments was to be taken into income for 1955, but when the remodeling was completed in 1956, Melvin was to take up a profit of "approximately" 20 percent, after allowing 10 percent for overhead.  At or about the time of this discussion, Winterhalter noted on his work papers that these instructions were "Per C. O. Mensik." There was no mention to Winterhalter at that time, or at any other time, of the existence of any written contract or contracts covering the City Savings remodeling job for $ 367,800, or any other amount.  As to the conversation with Winterhalter and the giving of such instructions to him, petitioner in his testimony was equivocal and evasive.  The testimony of Winterhalter, on the other hand, was definite*273  and convincing, and we are satisfied his testimony reflects what actually happened.  There is no possible way of reconciling this conversation and the instructions given with the existence of a contract or contracts calling for the payment of $ 367,800 or any other fixed amount or amounts for the work to be done.  16 In that connection, it is doubtful that the need for the steel beams at the second floor and the strengthening of the *729  roof structure included as one of the so-called "plus" items in the document bearing the date of September 10, 1955, was even known at September 10 so that it could have been included in a contract on that date.  The remodeling did not commence until some undisclosed date in September and the structural difficulties did not come to light until after the work was underway.  It was only then that solution of the problem through the use of steel beams was worked out by Bagnuolo.*274  As to Melvin's actual cost on the remodeling job, the record leaves much to be desired.  As above indicated, it is respondent's position that Melvin's cost did not exceed $ 124,207.26, the amount shown therefor in its Account 6 B, plus 10 percent for overhead, and, after allowing 20 percent additional as profit, the excess of the payments by City Savings to Melvin was to or for the benefit of petitioner.  In contrast, it is the position of the petitioner that the obligation of City Savings for the work done was $ 367,800, as fixed by the two purported contracts; that the cost to Melvin was $ 256,207.26, leaving to Melvin as its profit $ 111,592.74, which even if true would be the rather remarkable profit to Melvin of 43.5 percent of its cost, amazing in fact when Mensik's position of trust with City Savings is considered.To arrive at $ 256,207.26, Winterhalter, when he was preparing data for Melvin's 1956 income tax return and under instructions from petitioner and Melberg, transferred to the 6 B account $ 60,000 of a total of $ 106,029.68 shown by Melvin's books as its total administrative and overhead expenses for 1956, $ 50,000 of a total of $ 52,800 shown by Melvin's books as*275  unallocated inventory as of December 31, 1956, and entered $ 22,000 in the 6 B account as added engineering costs to Melvin for the remodeling job.  These items when added to the $ 124,207.26 shown by the 6 B account as Melvin's cost for the City Savings job brought the total to the $ 256,207.26 as claimed.As for the $ 22,000 charged as engineering costs, the record is definite and clear that the entry was entirely fictitious and that Melvin made no such expenditure.With respect to the $ 60,000 transferred from the account covering administrative and overhead expenses, the facts show that the total of such expenditures for 1956 with respect to Melvin's entire operations amounted to only $ 106,029.68.  The facts further show that Melvin's gross receipts for 1956 from all of its operations amounted to $ 2,235,145.93, of which the $ 367,800 received from City Savings was approximately 16 1/2 percent.  Melberg in his testimony gave some indication that he regarded $ 24,000 of the $ 60,000 so transferred as having to do with miscellaneous labor and the use of trucks and equipment, and only $ 36,000 as representing administrative and overhead expenses.  Melvin charged most of its labor*276  expenses directly *730  from the timecards of its workmen to the particular job or jobs on which they were working.  This was not feasible, however, in the case of some of its personnel, such as truckdrivers and maintenance men, who were not assigned to a particular job.  The cost of their services was carried in Melvin's accounts under the heading "Miscellaneous Labor." The amount reflected by Melvin's records as having been spent for miscellaneous labor in 1956 is not shown.  But the best recollection of any of the witnesses, other than Melberg, was that the total amount for miscellaneous labor for Melvin's entire 1956 operations was around $ 30,000.  Furthermore, we are not persuaded by any proof of record that any substantial portion of the work done on the City Savings job was by unassigned personnel, such as truckdrivers and maintenance men, or that any substantial percentage of the total shown by the miscellaneous labor account was attributable to the City Savings job.As for the $ 50,000 transferred from the inventory account as of December 31, 1956, the only items described by Melberg in his testimony were rough lumber, cement, and some brick, and with respect to brick, *277  it was admitted that comparatively little brick was used for the job.  Obviously, cement was required, but whether or not the reference to cement included materials used by the plasterers does not appear.  We are accordingly unable to conclude that any justification was shown for the allocation to the City Savings job of any very substantial portion of the $ 50,000 which was so allocated.Bagnuolo did not testify as to the portion of the $ 125,000 estimated by him as the cost to City Savings for the remodeling of its building which was to represent cost to the contractor and the portion which was to represent the contractor's profit, but, assuming a profit of 20 percent, which was the percentage of profit petitioner informed Winterhalter was to be allowed to Melvin as its profit, Melvin's cost, exclusive of the partitions for the closing rooms and other added or "plus" items, would have been, according to Bagnuolo's estimate, somewhere in the neighborhood of $ 104,000 to $ 106,000.  As already shown, Bagnuolo testified to certain added or "plus" items which had not been covered by him in his estimates. It was the testimony of petitioner that numerous other items were included in *278  the work done which were outside of Bagnuolo's plans.  As to the extent to which that was true, we have no satisfactory evidence.  We are satisfied, however, that for the most part the work done was covered by Bagnuolo's plans.  It was his testimony that his responsibility as the architect was to see that the building was constructed safely and soundly and he saw that that was done; that due to structural problems which arose as the remodeling work progressed, he was called in on many occasions and although he did not follow through on the finishing, plastering, etc., he did see that *731  the remodeling work as carried out was substantially in accordance with his plans.However, that may be, Melvin's Account 6 B was set up to cover Melvin's cost on the remodeling job and the cost of the items relating to that job were supposed to have been covered therein, and we are satisfied that for the most part they were so covered, and not only the items estimated for but the "plus" items as well.  The cost to Melvin as shown by that account, after the elimination of $ 8,809.55 paid to Robert Johnstone with respect to work other than the City Savings job, was in the total amount of $ 115,397.71. *279  From the testimony of Winterhalter, and even that of Mary Ann Barto, it would appear that all expenditures by Melvin shown by invoices, memoranda, and records to have been made in respect to the City Savings job were entered in the 6 B account.  And, it is reasonable to conclude, we think, that any and all of the additional or "plus" items which related specifically to the City Savings job and were not such materials as would normally be included in general inventory were in fact so charged to the 6 B account.  Among such items would be the added cost of approximately $ 10,000 for the steel beams specifically designed by Bagnuolo for the City Savings job and the additional $ 5,250 resulting from a change in the elevator doors.  In our opinion, it would not be reasonable to conclude that any such items would ever be charged to the unallocated inventory account rather than to the 6 B account.  The same would be true, we think, for air conditioning for the second floor, counters, glass and aluminum, special doors such as were described by petitioner, and other items which were specifically procured for the City Savings job.  As for most such items, we have only the testimony of petitioner, *280  which, as already noted, we do not regard as being wholly reliable.  There is supporting testimony which tends to show that the second floor does have air conditioning, and it was petitioner's "recollection" that its cost was around $ 9,600.  On the other hand, it is possible that the brick and cement and the rough lumber needed for the work relating to the shoring of the walls and the footings therefor in connection with the installation of the elevator and for the strengthening of the members of the roof structure, not having been anticipated or requiring specific design, could have been hauled from other locations and could have come from unallocated inventories.  The same might have been true of the lumber required for the framework of the partitions for the closing rooms, and it is also possible that to some extent lumber, brick, and cement from unallocated inventory could have been used otherwise on the job.We are fully satisfied and convinced, however, that the added costs over and above the costs shown in the 6 B account were far less than the amounts thereafter added by Winterhalter as costs under the direction *732  of petitioner and Melberg.  In short, we are satisfied*281  and convinced that there was a gross overpayment by City Savings to Melvin for the remodeling job done on its building and that such overpayment was advisedly arranged by petitioner, and we have so found as a fact.  We are further of the opinion and conclude that petitioner has failed to prove that the amount of such overpayment was in any lesser amount than $ 176,312.50, covered by the respondent in his determination of deficiency herein.The petitioner called as witnesses two appraisers to give restrospective opinions as to the cost of the remodeling work done on the City Savings building.  One of these witnesses had made his retrospective examination of the building on the day before he was called to testify in this case.  He arrived at a figure of $ 253,000, plus the cost of the elevator, for the work done. As the basis for his estimate, and in determining the work which was done in the remodeling, he used Bagnuolo's plans, and working from those plans made his estimates from what he could discern and from what he could "see with his eyes." The only departure from Bagnuolo's plans noted by him had to do with two closing rooms which he saw upon his inspection of the building but*282  which were not on Bagnuolo's plans.  He did not make allowance for some of the added items, such as the steel beams at the second floor which he did not see, but did make allowance for labor overtime.  The amount arrived at by him was not only his estimate of the cost to the contractor for the materials and work done, but also included an allowance for overhead and an allowance to cover the profit to the contractor. His allowance for overhead was 10 percent.  As a proper profit for the contractor, his allowance was 10 percent, as compared with the 20 percent indicated by petitioner to Winterhalter and the 43.5 percent indicated as the profit actually realized by Melvin, if the claimed cost of $ 256,207.26 to Melvin for the work be accepted.The other witness had made two appraisals of the City Savings property, one possibly a year prior to the remodeling and the other as of November 5, 1956, after completion of the work in the preceding spring.  It was his recollection that in his first appraisal he had attributed approximately $ 350,000 to the building.  In his 1956 appraisal, he arrived at a figure of $ 553,049, which was $ 203,049 greater than the figure attributed to the building*283  prior to the remodeling work.  It is to be noted, however, that the $ 553,049 was his estimate of the reproduction cost for the entire building as of November 5, 1956, and some portion thereof would represent the increase in building costs on the building proper, which had been appraised at approximately $ 350,000 something more than a year before, and another portion would represent the increase in the costs of the remodeling, *733  both of the appraiser-witnesses having testified that building costs had increased substantially.  Further, it is reasonable to conclude, we think, that the $ 553,049 estimate of reproduction cost for the whole building included the amount regarded as the proper profit to the contractor, as was true of the estimate of the other witness and that of Bagnuolo.  Based on such an estimate, it would follow that the actual cost of the remodeling, including a proper profit to the contractor for the work done, would in reason be somewhat less than the $ 203,049 margin of the November 5, 1956, estimate of $ 553,049 over the prior estimate of $ 350,000.It thus appears that the testimony of these witnesses supports the conclusion we have reached above that the*284  $ 367,800 payment by City Savings to Melvin for the remodeling job done on its building resulted in a gross overpayment.Even so, it is the contention of petitioner that there was no diversion to him or for his benefit of any of the amounts paid by City Savings to Melvin.  For support for his position, he relies primarily on his own testimony.  As to his testimony that there was no overpayment by City Savings to Melvin in respect of the remodeling of the City Savings building, we have already stated our views and conclusions.  Be that as it may, it was petitioner's further testimony that though both he and Hodge did receive payments from Melvin in the taxable year, these payments were bona fide loans by Melvin to them, not the diversion of any of the amounts paid by City Savings to Melvin, and did not effect the receipt of "one penny" of income by him.  As supporting this testimony, he relies on the notes, or purported notes, in favor of Melvin, showing him and Hodge as the makers thereof.  There was no showing or offer to show how the payments admittedly received by him were treated on his personal accounts and records.  In that connection, it is to be noted that it was his testimony*285  that he had many transactions of which he made no record.However that may be, the events which actually transpired between petitioner, Melvin, and Hodge, as they relate to the funds in question, were peculiarly within the knowledge of petitioner.  And with respect to Hodge, they were, so far as appears, solely between petitioner and Hodge and no one else, and we are not in doubt that he has not seen fit to relate the full story or a story which was wholly true.  There are critical parts of his testimony, some of which has already been noted, which are at variance with other evidence of record, and it is not possible to tell just where the truth ends and fiction begins.With respect to his relations with Melvin, it is petitioner's contention that he had no proprietary interest in and no control over Melvin; that his interest in Melvin was that which he as president of *734  City Savings would normally have in a borrower from City Savings and as the personal friend of those who did own Melvin, and that any participation in the affairs of Melvin or in discussions with respect to its operations, was at the request of those who owned Melvin.Obviously, petitioner was not nearly so*286  objective and impersonal in his management of City Savings and in his relations to Melvin as he contends.  The facts are quite definite that though serving City Savings in a position of trust, petitioner in his conduct of its affairs consistently had an eye for personal gain even at the expense of City Savings, and sufficiently so to impel the Cook County Circuit Court to find that the rentals paid by petitioner for the space occupied by petitioner's various personal enterprises were inadequate, and in its order returning City Savings to petitioner's management and control as its president and managing officer, to direct that a fair and proper rental be paid; to find and declare that "C. Oran Mensik cannot enter into any business transaction wherein all of the profits do not inure to the benefit of City Savings Association, where City Savings Association is a party on the one hand, and C. Oran Mensik, or a corporation or proprietorship owned or controlled directly or indirectly by him, is the party on the other hand"; and to further find and declare that Mensik might not retain any substantial ownership and control in any other savings and loan association in the State of Illinois*287  while he is president and executive managing officer of City Savings, and order that he divest himself of all management and control of First Guarantee and Chicago Guarantee, and cease forthwith to serve as an officer or director of either so long as he should remain the president and chief managing officer of City Savings. It further appeared that petitioner permitted Pikiel, who as attorney for City Savings was also in a position of trust, to, so to speak, work both sides of the street, thereby causing the court in its order to permanently enjoin Pikiel from serving City Savings and any of its borrowers in the same transaction, and from serving City Savings while at the same time serving any other person in any transaction with City Savings. It also ordered that Pikiel, if he occupied space in the offices of City Savings, should pay a fair rental therefor and that as with respect to petitioner the master should take proof and report his findings, conclusions, and recommendations as to the fair and reasonable rental to be paid.As between petitioner and Melvin, the record shows that Mensik was likewise in a position of dominance, and where his personal interests were concerned, *288  that he did dominate.  He put his brother-in-law, Kramer, into Melvin as a purported substantial stockholder and then took him out to bring him to City Savings as a vice president and director, and with petitioner, to become a majority of City Savings' *735  executive committee.  Petitioner's father had been one of the founders of Melvin in 1945, and major stockholder.  In 1951, Kramer purported to buy his stock, under a contract which provided that Kramer was to give a judgment note in the amount of the sales price but that in the event of default the stock was to be taken in complete satisfaction, without Kramer being personally liable therefor.  Actually, however, petitioner paid his father in full for the stock, and Kramer gave a judgment note to petitioner in the same amount, with petitioner holding the stock as "collateral." Thereafter, when Kramer purported to acquire further shares of Melvin stock, the transaction, in practical effect, was the same.  Kramer never actually paid any money on the note or notes, or the stock, which at all times was held by petitioner, and there is no indication that it was ever intended that he should.  When Kramer moved from Melvin to City*289  Savings, the Melvin stock was transferred from Kramer to petitioner's sister, who likewise executed a judgment note in favor of petitioner, which took the place of Kramer's note.  Up to the time of the trial herein, she had never actually participated in any of Melvin's affairs, and had made no payments to petitioner on the note.  In contrast with Kramer, however, the stock was delivered to her and she had not been required by petitioner to deposit collateral and she had paid some interest.  Mary Ann Barto was a stockholder and secretary of Melvin.  She was first employed by petitioner in 1942, as a stenographer-secretary in a newspaper publishing enterprise of which petitioner and Melberg were copublishers.  She continued to serve petitioner in various ways, including the acting as nominee in many of his personal transactions, and when First Guarantee, of which petitioner owned 98.8 percent of its stock, was organized, she served as its secretary for approximately 1 year.  In addition, she sought and received petitioner's advice in her own purchases of property.  Furthermore, there is evidence of record tending to show that simultaneously with her employment with Melvin she was likewise*290  an employee of petitioner in his operations as Allied Investment Company.  See hereafter the quoted portion of petitioner's testimony before the master in the Cook County Circuit Court case.  In short, the evidence is such that we have found as a fact that in transactions of petitioner with which Kramer, Mary Ann Barto, or Carl Melberg were concerned, they were subservient to petitioner.Petitioner sat in on conferences covering Melvin's accounting procedures and those relating to the reporting of its income.  In various of the transactions where he was involved, directly or indirectly, Melvin and certain of its personnel acted pursuant to his directions.  And even though Carl Melberg was present at some if not all of the conferences, Melvin's accountant took pains in numerous instances to note that the action taken was "Per C. O. Mensik."*736  Through loans from City Savings, Mensik saw to it that Melvin received adequate financing for its construction operations, and Melvin, in turn, provided Mensik with a readymade market for real estate, as well as the source of substantial sums of money as he desired.Whether Melvin might have had some difficulty in financing its operations*291  elsewhere, we do not know.  But there is some indication from petitioner's letter of March 2, 1956, to Melvin, that there was some sentiment, if not restrictions, against the making of construction loans by savings and loan associations.  In any event, from the time Melvin was organized, petitioner had seen that it had had construction money from City Savings. It is to be noted further that the Cook County Circuit Court, in its order, directed that City Savings require all multiple borrowers "to further collateralize all present loans to the extent of six per centum (6%) of their present unpaid balances before being granted any further loans," and we do know that Melvin was one of two to four multiple borrowers from City Savings.As to the loans by City Savings to Melvin, it was Mensik's testimony that such business with Melvin had proven to be very profitable to City Savings and in the last 10 years City Savings' earnings in commissions and interest on that business had been well over a half million dollars.  There is no suggestion or claim that City Savings had not found its loans to Melvin profitable, and we have no reason to conclude otherwise.As for Mensik personally, he too*292  found business with Melvin most profitable, and in the years 1953, 1955, and 1956, he realized gains on sales of real estate to Melvin in the amount of $ 596,459.54, and the properties involved were in the main, if not wholly, properties in the development of which Melvin expected to obtain and did obtain its financing from City Savings. In one sale alone, made in June or July of 1955, petitioner's profit was $ 422,000, on a property on which Melvin and another started development work within 2 to 3 months of its purchase by Mensik, even though the formalities of sale and conveyance to Melvin were not concluded until 8 to 10 months after its purchase by petitioner.  This particular property was a 103-acre farm, which at or about the time of acquisition by petitioner was appraised at $ 300,000 by petitioner's employee Emerson.  Petitioner acquired the farm in exchange for four apartment buildings, each of which was under mortgage to City Savings. Petitioner was buying two of the apartments from Melvin on contract, and he may never have had title to them.  After its acquisition by petitioner, the farm was mortgaged as security for three loans, likewise from City Savings, the proceeds*293  of which were used to satisfy the mortgages on the four apartment buildings, in exchange for which the farm had been acquired.  In December of 1954, there were two additional loans from City Savings *737  on the farm, each for $ 132,000.  The substantial balance of mortgage proceeds remaining after the mortgages on the four apartments were satisfied were retained by petitioner.  It is thus apparent that in substantial part, if not wholly, the source of the funds with which Melvin purchased the farm at such a remarkable profit to petitioner was City Savings.According to the corporate minutes, Melvin's board of directors, at a meeting on February 14, 1956, adopted a resolution to the effect that in order to further the business of Melvin, surplus funds could be advanced as loans to Melvin's employees, officers, clients, or other persons who generally would promote its business.  There is nothing of record to indicate that Melvin on that date, or prior thereto, had ever had funds in any substantial amount which were not needed or required in its operations and which would be available for the making of such loans.  To the contrary, its income tax returns for the years 1952, 1953, *294  1954, and 1955 indicate that its operations for those years had resulted in a net loss of $ 20,118.30.  Its balance sheet appearing in its 1956 return does indicate that it had $ 91,163.60 in cash on hand at January 1, 1956, but it also shows that instead of earned surplus or undivided profits, there was an existing deficit of $ 47,762.64.  At February 14, the City Savings remodeling job was within some 3 weeks of completion, and if $ 367,800 was, bona fide, the price City Savings was to pay therefor, a very nice profit on that job was in the offing, and might thus supply some funds for the loans so authorized.  And according to Melvin's books as finally set up a profit of $ 111,592.74, being 43.5 percent of Melvin's cost, was realized.  Whether in the circumstances such a profit would be unconscionable, we need not decide.  The fact is, however, that as late as January 17 preceding, petitioner had advised Winterhalter that the profit to Melvin on the City Savings remodeling job was to be cost, plus 20 percent, after allowing 10 percent for overhead, and there was no mention of any contract or contracts calling for a payment of $ 367,800 by City Savings to Melvin.  On February 14 *295  the payments by City Savings to Melvin on the remodeling had amounted to $ 157,000.Under date of March 2, 1956, some 17 days after the date of the February resolution, Melvin received a letter from petitioner, recommending a loan to Orville Hodge.  He pointed out that Hodge was "very enthusiastic about construction lending for savings and loan associations, which is what we are interested in," and that with Hodge in office savings and loan associations in general would be able to make all the construction loans they desired.  He further stated that he was making a $ 200,000 mortgage loan in May following on the Esquire Apartment Hotel represented as belonging to Hodge and that the loan recommended by him for Hodge would be paid back from the *738  proceeds of the $ 200,000 loan on the Esquire Apartment Hotel.  In the interim between February 14 and March 2, an additional $ 15,000 had been paid by City Savings to Melvin and credited on Melvin's books as a payment on the remodeling of the City Savings building, which brought the total payments by City Savings to $ 172,000.  On March 9, 7 days after the date of Mensik's letter, City Savings made a further payment of $ 45,000, which*296  was similarly so credited.  On March 12, 1956, City Savings paid an additional $ 61,000 to Melvin, and on the same date, namely March 12, Melvin issued a check for $ 76,312.50, payable to the order of Orville Hodge, and, according to Mary Ann Barto, at or about that date received an unsecured judgment note in the same amount, payable 90 days after date, without interest, and indicating that Hodge was the maker.  On May 11, 1956, a $ 200,000 loan was made by City Savings, secured by a mortgage on the Esquire Apartment Hotel but no payment was made on the $ 76,312.50 from the mortgage funds or any other funds, and no payments have been made thereon by anyone since that time.On May 28, 1956, a payment of $ 46,800 was made by City Savings to Melvin and credited by Melvin to its 6 B account as a payment on the City Savings remodeling job.  On June 27, 1956, a payment of $ 43,000 was made and similarly credited by Melvin to its 6 B account, which payment brought the total payments by City Savings to Melvin to $ 367,800.  Two days later, on June 29, 1956, and some 49 days after the loan of $ 200,000 by City Savings on the Esquire Apartment Hotel and when the March 12 note, or purported *297  note, was in default, Melvin issued two checks for $ 50,000 each for the purported purpose of making a further loan of $ 100,000 to Hodge.  No one from Melvin made any contact with Hodge in respect of the issuance or delivery of the check for $ 76,312.50 or the two checks for $ 50,000 each issued on June 29, 1956.  According to petitioner, the money in each instance was delivered by him to Hodge in his office, and if anyone else was present, the record does not so show.  One of the $ 50,000 checks was drawn payable to cash and the other to City Savings, and when cashed showed no endorsement by Hodge, or by anyone for him.  The check drawn to cash was cashed by Mary Ann Barto and the $ 50,000 in currency received was delivered by her to petitioner.  Just how the $ 50,000 covered by the check drawn in favor of City Savings was handled is not shown.  The facts indicate that it was deposited in the City Savings bank account.  We have only the testimony of petitioner as to what transpired between him and Hodge.  When asked as to the manner in which the check to City Savings was handled, petitioner's explanation was a qualified answer that if it was deposited at City Savings, "then the man*298  wanted a cashier's check to take away with him." As in the case of the $ 76,312.50, it was the testimony of Mary Ann *739  Barto that at or about June 29, 1956, she received for Melvin two judgment notes for $ 50,000 each, showing Hodge as the maker.  On some date not shown, but likewise in June of 1956, petitioner, according to his testimony, received $ 50,000 from Hodge.  Whether there was any coincidence of the date of such receipt with the receipt of the $ 50,000 in currency from Mary Ann Barto, petitioner did not state, but he did testify that the $ 50,000 from Hodge was in repayment of a loan he personally had made to Hodge the year before and that receipt of the repayment had nothing to do with the $ 100,000 "loaned" to Hodge by Melvin.The story does not end there, however.  On or about July 15, 1956, some 16 days after the delivery, or purported delivery, of the $ 100,000 to Hodge by petitioner as a loan from Melvin, Hodge was faced with charges that he had embezzled funds from the State of Illinois.  He resigned from his office as State auditor and was thereafter sent to prison.  On July 17, 2 days after Hodge was charged with embezzlement, petitioner received a check*299  for $ 200,000 from Melvin and 2 days after that used the proceeds of the check to purchase the mortgage on the Esquire Apartment Hotel from City Savings. At the trial in this case, it was the testimony of petitioner that the $ 200,000 was received by him as a loan from Melvin and that currently he executed a judgment note, payable in 5 years, to Melvin in that amount.  The note, or purported note, carries a typewritten statement on its back, to the effect that it is expressly understood that in event of default, "the 38% interest in stock in the Chicago Guarantee Savings Association shall be held as full satisfaction for $ 135,000.00 of the principal amount of this note, and that the signer will not be liable for any deficiencies or losses if they should occur up to $ 135,000.00." At first, it was petitioner's testimony that he had posted the Chicago Guarantee stock with Melvin as security at or about the time of making the note.  Later, during the trial and after being questioned as to whether or not the stock of Chicago Guarantee had not been in possession of a Chicago bank as collateral on another obligation until sometime in August of 1957, petitioner changed his testimony, to*300  say that the Chicago Guarantee stock was not posted with Melvin until August of 1957 and the endorsement on the note with respect thereto was not made until that time.In the proceeding in the Cook County Circuit Court, petitioner, on July 2, 1957, before a master, testified that the $ 200,000 received by him from Melvin on July 17, 1956, had been received in repayment of a loan he personally had made to Melvin some 30 to 60 days prior to July 17, 1956.  In this case, it is his testimony that his testimony on July 2, 1957, before the master, was given through a mistaken understanding of the questions asked, and it was his thought that he *740  was testifying to the receipt of the proceeds of a loan from Melvin to him.We listened to the petitioner in the course of his testimony in this case and we have carefully examined the transcript of his testimony before the master.  We are fully satisfied and convinced that he did not testify before the master through a misunderstanding of the purported questions, but that he well understood the questions asked and that the answers given by him were advisedly given.  At the outset of the questioning before the master, there were one or two*301  questions which, if lifted from context and standing alone, might be susceptible of the interpretation petitioner now seeks to place upon them.  The questions as a whole remove all possible doubt as to the tenor and purport of the questions, petitioner's understanding of them, and his answers thereto.  Following are the questions and answers referred to:Q. And Allied Investment Company just decided that they would pick up the loan, is that correct?A. I thought it would be best to do so.Q. And you picked the loan up with a Melvin Building Corporation check in the amount of $ 200,000, dated July 17, 1957 [sic], didn't you?A. Yes.Q. Melvin owed you $ 200,000, right?A. That's right.THE MASTER: When you say "you", you mean him, personally?MR. SEARS: I am talking about him.THE MASTER: Him, personally?MR. SEARS: Yes.  Q. You picked up the mortgage, the Allied Investment Company, and Melvin Building Corporation check paid for it?A. It was a check they gave me for money due me from Melvin Building Corporation on a loan.Q. You just loaned them $ 200,000?A. I have loaned builders many times that.Q. Did you loan Melvin $ 200,000?A. Yes.Q. Did you have any security for it?*302  A. A judgment note.Q. Just a judgment note. Now, let's see.  Mary Ann Barto is with the Melvin Realty Company too, isn't she?A. Yes, she is with both companies.Q. Did you give the Melvin Building Corporation back its judgment note for $ 200,000?A. Yes, after it was paid.* * * *Q. When did you make the loan to the Melvin Building Co.?A. I would have to check the records.Q. Would you have any idea how old the loan was before they paid it off?A. It could have been thirty days; it could have been sixty days.Q. Could it have been any longer than that?A. No, I don't think so.*741  On or about February 1, 1957, petitioner sold the Esquire Apartment Hotel mortgage back to City Savings for $ 188,000.  Whether $ 188,000 represented the face amount of the loan, less payments on principal in the interim, does not appear.  In any event, petitioner, according to his own testimony, did not apply the $ 188,000, or any part thereof, in repayment to Melvin of the $ 200,000 which had been received by him from Melvin on July 17, 1956, and used in the purchase of the mortgage from City Savings.As indicating that the $ 200,000 was received by him as a loan and that he bona fide had given*303  his note therefor, petitioner relies on certain endorsements appearing on the back of the document, the first of which would indicate the receipt by Melvin of $ 8,000 as interest on February 19, 1957, and would be representative of interest for the entire year ending July 17, 1957, at 4 percent, the rate shown.  Following is the statement "Balance as of Dec. 31, 1957 -- 137,250.00." There is, however, no endorsement showing payment of $ 62,750, the difference between the principal amount of $ 200,000 and the stated balance or that the reduction to $ 137,250 was the result of payment.  The only evidence of a payment actually made by petitioner which could account for any part of the $ 62,750, necessary to reduce the $ 200,000 face amount to a balance of $ 137,250 at December 31, 1957, was the $ 10,000 payment made to Melvin by the check drawn on petitioner's Allied Investment Company account under date of March 11, 1957.  It is petitioner's testimony and contention, however, that the March 11, 1957, payment was in repayment of the $ 10,000 received by him on May 26, 1956, for the purchase on behalf of Melvin of lot 1 of the 5000 block of West Jackson Boulevard, and that its entry on*304 Melvin's books as a payment by him on Melvin's notes receivable was in error.  There is an endorsement on the purported note indicating a payment of $ 2,500 on the principal on January 27, 1958, leaving $ 134,750 as the balance due.  There is a further endorsement also dated January 27, 1958, indicating a payment of $ 5,400 as interest to December 31, 1958, and finally a typed statement indicating receipt of $ 5,390 on June 21, 1959, as interest for the "year 1959."There is no provision on the purported note for payments of interest in advance, such as those indicated on the back of the document.  An obligor could if he saw fit make payments of interest 5 1/2 months, 6 months, or 11 months before the payment of such interest was required or due, but taking into account the relations between petitioner and Melvin and the pattern of the transactions he had with Melvin, advance payments of interest as indicated are, to say the least, in contrast with his attitude toward repayment of certain other amounts received from Melvin and purportedly owed by him to Melvin.  To illustrate, it was not until February 6, 1956, that he, according to his testimony, *742  repaid the $ 90,000 received*305  on September 12, 1955, and the $ 10,000 theretofore received, for the purchase of property for Melvin, and even then the repayment was made by the endorsement and return to Melvin of a check for $ 100,000 issued to petitioner by Melvin under that date, as a purported loan but which when issued was actually entered on Melvin's books as in payment for certain real estate Melvin had purchased from petitioner.  At or after the end of the year the entry was changed to show the $ 100,000 as a loan by Melvin to petitioner.  Also in contrast with the payment of interest in advance was the delay until March 11, 1957, in making purported repayment of the $ 10,000 received from Melvin on May 28, 1956, purportedly for the use in the purchase for Melvin of lot 1 in the 5000 block of West Jackson Boulevard.In addition to these considerations, it is not at all clear from the purported note, itself, and the testimony of petitioner before the master in the Cook County Circuit Court that as originally drawn the date may not have been July 17, 1957, rather than July 17, 1956.We do not know what the full and true story is with respect to the payments by Melvin to petitioner in 1956.  As already stated, *306  we are satisfied and convinced that there was a gross overpayment on the account of City Savings as to the cost of the remodeling job done on its building, and that the overpayments were advisedly arranged for and made by petitioner.  Also, we are persuaded and convinced that they were made with the deliberate purpose of providing funds for the payments made to him by Melvin, whether they were intended for him or for Hodge, or whether they came to rest with him or were passed on to Hodge.  What the arrangement was between petitioner and Hodge, we do not know.  It could be that a payoff to Hodge for favors received or to be received by petitioner or his wholly owned loan companies was made.  Whatever they were, and to the extent they did occur, we are satisfied that they were advisedly arranged for and made by petitioner, and there is no evidence of record which persuades us that there was any intention that such payments which did reach Hodge, if any, were to be repaid.  Taking into account the pattern of the various money transfers, petitioner's method of doing business, his proclivity for using companies with which he occupied positions of trust for his separate and individual benefit*307  and gain, we are satisfied that through the overpayment by City Savings to Melvin and the subsequent transfers of funds back to petitioner, he was in receipt of taxable income.The respondent has determined that in such manner petitioner received and realized income in the amount of $ 176,312.50.  By amended answer, he now claims that the amount was $ 206,330.56.  As to the amount determined by the respondent in his determination *743  of deficiency, the burden of proving error was on the petitioner.  He has not borne that burden.  With respect to the additional amount claimed by the respondent, the burden was on him, and similarly, he has not carried his burden of proof as to that amount.  As to the $ 176,312.50, the respondent is accordingly sustained.By check dated May 28, 1956, and drawn payable to Allied Investment Company, Melvin made payment of $ 10,000 to petitioner.  Respondent determined that by reason thereof, petitioner realized taxable income in that amount.  The $ 10,000 so paid was entered by Melvin on its books as having been in payment for lot 1 in the 5000 block of West Jackson Boulevard.The facts show that lot 1 was 1 of 13 lots which had been acquired by *308  Irene Kunitz, petitioner's sister, in October of 1954.  Petitioner acted for her in the transaction and supplied the $ 5,000 used as the downpayment.  Under date of October 21, also in 1954, she entered into a contract whereby Melvin agreed to purchase the 13 lots for the sum of $ 80,800, of which she acknowledged receipt of $ 60,800.  In entering the purchase on its books, Melvin omitted lot 1 and spread the purchase money between lots 2 to 13, inclusive.  Under date of March 29, 1956, Melvin obtained a construction loan from City Savings for the construction of a building in the 5000 block of West Jackson Boulevard, including lot 1.  Construction was started, and by May 25, 1956, Melvin had received $ 33,977.25 of the construction loan.  At or about that time, Melvin, according to the testimony of petitioner and Melberg, discovered that its books did not show ownership of lot 1, and thereupon it made the $ 10,000 payment to petitioner and entered the $ 10,000 on its books as being in payment for lot 1.It was petitioner's testimony that his employee Emerson discovered on checking at the recorder's office that Melvin already had title to lot 1 and he returned the $ 10,000 to Melvin. *309  It was his further testimony that he pointed out to Melberg that lot 1 was covered in the purchase contract Melvin had with his sister and that it in fact had title to it, and further, that he stated, "I will have to return the $ 10,000 to you."Petitioner did issue a check for $ 10,000 to Melvin on his Allied Investment Company account, but the check was not so issued until March 11, 1957, nearly 1 year after he had received the $ 10,000 from Melvin.  The canceled check carries a penciled notation that it was in repayment of the $ 10,000 received in May of the year before.  In that connection, petitioner testified that the penciled notation was put on the check after it had been cashed by Melvin and that he had made no record in his accounts of the receipt of the $ 10,000 in May previous.  Melvin, however, upon receipt of the March 11, 1957, check, did not enter the payment as a return or refund of the May 28, *744  1956, payment, but gave petitioner credit for $ 10,000 in its notes receivable account.  Carl Melberg, in the course of his testimony, was asked some questions relative to the matter.  He did appear to recall a "second purchase" of lot 1 and that they later discovered*310  that the lot already belonged to them, and the money was returned, "if I remember right." He was not familiar with the treatment of the payments on Melvin's books, and was somewhat hazy as to other details.Frankly, considering the state of the record, we do not know what the truth is.  We do know that the $ 10,000 was received by petitioner under date of May 28, 1956, which was the same date Melvin had received $ 46,800 from City Savings, which was a part of the excessive payments by City Savings to Melvin under the guise of payments for the remodeling of its building, and that the claimed repayment was not made until March 11, 1957, the better part of a year after petitioner had received the $ 10,000.  We also know that when Melvin received the payment of $ 10,000 on March 11, 1957, it was not entered on its books as a return of the $ 10,000 paid to petitioner in May of the previous year, but was otherwise credited in favor of petitioner.  Furthermore, there is no indication that Melvin was sufficiently concerned over its "lack of ownership" of lot 1 to suspend or delay its building operations until it acquired or knew it could acquire the said lot.  To the contrary, there is every*311  indication that City Savings continued to make advancements on the loan and the construction proceeded to completion not later than December, which was some months before the issuance of the March 11 check by petitioner.It was the testimony of Mary Ann Barto that the entries in Melvin's books with respect to the payment and receipt of the $ 10,000 were in error, even though no steps had been made to correct them.  And again, the question is, what is the truth.  This is only one instance of entries made on Melvin's books covering transactions to which petitioner was a party and in respect of which the entries were said to have been made in error.  Some such entries were later changed.  These were not.On the facts, and in the circumstances, the respondent's determination that the $ 10,000 received by petitioner in May of 1956 was income to him, is sustained, for failure of persuasive and convincing proof to the contrary.Under date of April 17, 1956, petitioner caused a check for $ 6,800, showing Commercial Broadcasters as the payee, to be issued on the account of City Savings with the Chicago National Bank.  As the basis for the issuance of the check, petitioner has placed in evidence*312  a purported invoice of Commercial Broadcasters showing a charge of $ 6,800 against City Savings, for "Radio and TV advertising as per *745  contract in connection with April Primary for large vote 1956 for State of Illinois, of this amount $ 2800.  For state candidates." This purported invoice was on the invoice form of Commercial Broadcasters.  Written on the form in petitioner's handwriting appears the notation, "$ 100 a candidate for assembly, for those friendly to Savings and Loan Business." The check when cashed was endorsed "Commercial Broadcasters -- D Eddleson." Commercial Broadcasters never did any advertising for City Savings or for Mensik.  It issued no such invoice and never received the $ 6,800 check.  The signature in the endorsement was not the signature of Dave Edelson, manager of Commercial Broadcasters, and was not authorized by him.It was the testimony of petitioner that several days before April 1, 1956, the date shown on the bogus invoice, he was asked by Orville Hodge to contribute $ 6,800 for radio and television time for "legislators" who were "friendly" towards the savings and loan business, that he was called a short time later by Hodge's secretary, *313  Ike Volz, who said that the money had been spent and was owing to Commercial Broadcasters.  It was his further testimony that Volz sent a messenger to his office with what appeared to be an invoice from Commercial Broadcasters, which he "okayed" for payment, and that the $ 6,800 check was delivered to the messenger.  Edelson, when called as a witness, testified that Hodge did arrange through Commercial Broadcasters for an advertising campaign exclusively on behalf of President Eisenhower, the cost of which amounted to $ 6,245.01, that Hodge paid $ 6,000 thereon by personal check and the balance was charged off by Commercial Broadcasters as a political contribution.  In addition to his testimony that the invoice to City Savings for $ 6,800 was not the invoice of Commercial Broadcasters, that the endorsement on the $ 6,800 check was not his endorsement, and that Commercial Broadcasters did not receive the check, it was his further testimony that no radio and television advertising such as was described in the bogus invoice was carried on by Commercial Broadcasters.We do know that petitioner caused the $ 6,800 check to be issued on the City Savings bank account and that the check was*314  cashed.  As to the recipient of the $ 6,800, we have only petitioner's testimony, which, as heretofore indicated, we do not regard as wholly credible.  It was petitioner's testimony that the proceeds of the check wound up in Hodge's "brown envelope" at the Southmor Bank.  The "brown envelope" he explained was a lockbox.  Just how he knew this he did not say.  If the check was in truth delivered to Ike Volz, Ike Volz, if called, could have so testified.  Petitioner, however, called no one, and leaves this issue to rest upon his own testimony, which as heretofore *746  indicated we do not regard as reliable.  For failure of credible proof, the respondent's determination as to the $ 6,800 is sustained.With respect to the reporting of his gains from the sales of real estate, petitioner not only contends that his sales were not made to customers in the ordinary course of a trade or business carried on by him, but first contends that the respondent's determination was not a determination that the parcels of real estate sold were not capital assets and the gain therefrom other than capital gain, under section 1221 of the Internal Revenue Code of 1954.  17*315  What the respondent actually did was to eliminate from his computation of income the amount petitioner had taken into account as taxable capital gains from his sales of real estate, and in lieu thereof, to include petitioner's total receipts on such sales, the stated reason for including such receipts in full being lack of substantiation of the cost of the property sold.  Petitioner has now satisfied respondent as to the amount of such cost, and the amount of gain realized is not now in dispute.  If the respondent's determination had been intended as a determination only of petitioner's failure to substantiate his cost basis, the adjustment would have been merely to increase the amount of capital gain reported on the return by that portion of the additional gain to be taken into account, rather than to eliminate it entirely and substitute therefor the full amount of the receipts as taxable income.  It is accordingly evident that the respondent's determination was a determination that the gains on the real estate sales constituted ordinary income, not capital gain.By virtue of his position as president of City Savings and his dominant position with Melvin, petitioner was able to develop, *316  and did develop, a very profitable real estate business as an integral part of his business operations.  He acquired property for his own account and sold it to Melvin, realizing very attractive profits thereon, which he reported as capital gain.  The facts show that petitioner had engaged regularly in such transactions, which included, in addition to the sales to Melvin, some sales to other parties, over a period of 4 or more years prior to and including the taxable years.  One of the services performed for petitioner by Emerson under his employment was to check titles of parcels of real estate for purchase by petitioner for his own account.  Such purchases and sales were regularly made and were an important element in petitioner's business operations.  We have found from the evidence that the property sold was held for sale to *747  customers in the ordinary course of petitioner's business, the principal customer being Melvin.  We accordingly hold for the respondent.With respect to the income derived from petitioner's purchases of real estate tax certificates and their subsequent redemption by the landowners, the respondent is also sustained.  On the facts, Paul K. Ashby, 37 T.C. 92"&gt;37 T.C. 92,*317  is in point and is controlling.  Also see Kanawha Valley Bank, 4 T.C. 252"&gt;4 T.C. 252.During 1956 petitioner, on a commission basis, sold insurance for one or more insurance companies.  Among the insurance sales so made were sales to employees of City Savings, to his own employees, and to relatives and friends, on which he earned but waived commissions in the amount of $ 2,357.43.  In reporting his income, he did not report any part of the commissions waived. The respondent in his determination of deficiency included the said commissions in income.On brief, petitioner disavows the waiver of commissions to others than his employees and employees of City Savings, citing certain testimony that he did waive his commissions on sales to such employees.  In so contending, he ignores the stipulation filed herein, wherein it is stated that petitioners agree that during 1956 City Insurance Agency "earned commissions" on insurance policies issued "to friends, relatives and employees of C. O. Mensik," which commissions, in the aggregate amount of $ 2,357.43, were waived and were never received or collected.  From his argument on brief, it would appear that he seeks to limit*318  the sales on which commissions were waived to employees, on the theory that in such instances the commissions, if income to anyone, would be income to the employees, and "can, in nowise, be considered as compensatory in nature to the petitioner."As the apparent basis for this contention, he has quoted an excerpt from our opinion in Sol Minzer, 31 T.C. 1130"&gt;31 T.C. 1130, to the effect that if the sales were like a bargain purchase "where the employer intends to compensate an employee by selling property to the latter at less than fair market value (see Income Tax Regs., sec. 1.61-2(d)(2)), we would have no hesitancy in holding that the net reduction in the cost * * * represents taxable income to him." If the purpose in quoting from the Minzer opinion was as stated, petitioner obviously has misread the opinion, since the statement there made does not deal with the receipt of income by an employee, but with the realization of income by the employer.Furthermore, the Minzer case was not this case.  There the petitioner taxpayer, who was an agent selling insurance on a commission basis, as was true of petitioner here, purchased insurance for his own account. *319  In holding that Minzer did not realize income to the extent of commissions on the insurance purchased, we were of the opinion that he was making a purchase at wholesale, so to speak, for his own account, *748  and did not earn commissions on his own purchases.  We distinguished the situation there from the case where the agent for the insurance company was selling insurance to third parties, and our reasoning with respect to such sales supports the position of the respondent in the instant case, rather than that of the petitioner.In Minzer, we were reversed by the United States Court of Appeals for the Fifth Circuit, at 279 F. 2d 338, the court holding that commissions were earned and income was realized to the extent of the commissions on such insurance sales, even though there was no sale of insurance to third parties but a purchase of insurance by the agent for his own account.  Since this case is distinguishable from Minzer in the respect noted above, it is unnecessary in this case for us to reconsider our holding in Minzer.The extent to which the sales involved were sales to petitioner's employees is not shown, and whether or not the*320  employees realized income to the extent of waived commissions on insurance which they did purchase, we do not decide.  Their cases are not before us.As stipulated, petitioner earned commissions, which he voluntarily waived, on insurance sales to friends, relatives, and employees.  Having so earned the commissions, he may not escape taxation thereon by voluntarily waiving or assigning his right thereto to someone else be they friends, relatives, or employees.  Lucas v. Earl, 281 U.S. 111"&gt;281 U.S. 111, and Helvering v. Horst, 311 U.S. 112"&gt;311 U.S. 112.Under date of July 1, 1955, an instrument entitled "Contract for Insurance Commissions" was executed by Robert Kramer, as president, and M. A. Barto, as secretary, of First Guarantee Savings Association, and C. O. Mensik, as proprietor of City Insurance Agency, whereunder Mensik agreed that between July 1, 1955, and July 1, 1956, he would expend "up to $ 55,000.00 for advertising and promotion of the business" of First Guarantee.  There was the further provision that, in return, the association should "recommend and give all the insurance business of its members and of its own" to Mensik, for*321  a period of 5 years, with a renewal clause for an additional 5 years, if $ 100,000 in insurance commissions should not be earned during the first 5 years.  A similar instrument, also bearing date of July 1, 1955, was signed by Robert Franz, as president of Chicago Guarantee Savings Association, and C. O. Mensik, as proprietor of City Insurance Agency.  In 1955, petitioner paid $ 17,295.14 and in 1956, $ 32,076.14 for advertising on behalf of First Guarantee.  On behalf of Chicago Guarantee, he similarly expended $ 18,374.84 in 1955, and $ 36,284.84 in 1956.  It is the contention of petitioner that the expenditures so made constituted an ordinary and necessary business expense of his City Insurance Agency business, in that it constituted a promotion of the sources of the insurance business of the agency.*749  Insofar as appears, petitioner did not deduct for 1955 any part of the amounts so expended in that year.  For the year 1956, in which he expended $ 32,076.14 for advertising on behalf of First Guarantee and $ 36,284.84 for advertising on behalf of Chicago Guarantee, he deducted $ 5,139.81 in respect of his expenditures for advertising for First Guarantee and $ 3,812.12 in*322  respect of expenditures for advertising for Chicago Guarantee, or a total of $ 8,951.93 for the two.  The amounts so deducted were not determined or arrived at because they represented the advertising expenditures for the account of Mensik's insurance business in 1956, but because they were the same in amounts as the commissions he had realized in that year on business originating with First Guarantee and on business similarly originating with Chicago Guarantee.  The remainder of the amounts which had been so expended in 1955 and 1956 were to be deducted in subsequent years, which would be years in which no such expenditures were to be so made, in amounts equal to the insurance commissions petitioner should receive from sources originating with the two associations, until the total of such commissions and accordingly the deductions taken should equal the total of the expenditures made in 1955 and 1956.  We are not referred by petitioner to any provision of the Internal Revenue Code which would permit the deduction of the expenditures in the manner outlined.It is the position of the respondent that the expenditures were capital expenditures in the form of capital contributions to *323  or for the benefit of First Guarantee and Chicago Guarantee, and that the primary purpose was to provide capital necessary for the launching of the businesses of the two associations and the building up of their goodwill and business-getting powers, to the end that petitioner's capital investment in the two associations should grow and be enhanced, it being noted that petitioner was the owner of 98.8 percent of the issued and outstanding stock of First Guarantee and 98.6 percent of the issued and outstanding stock of Chicago Guarantee.In the circumstances, we are not impressed with any theory or representation that the payments were made in order to acquire the insurance business which would be provided by and flow from the two associations.  Petitioner owned, controlled, and dominated the two associations, and the insurance business which might originate therefrom was his to take or leave as he saw fit.  See and compare Carroad v. Commissioner, 172 F.2d 381"&gt;172 F. 2d 381, affirming a Memorandum Opinion of this Court.As supporting his position, petitioner cites and relies on Cubbedge Snow, 31 T.C. 585"&gt;31 T.C. 585, and Charles J. Dinardo, 22 T.C. 430.*324  Both cases are distinguishable from the instant case.  In Snow, the taxpayer was allowed a deduction for amounts paid pursuant to an agreement to underwrite the operating deficits of a Federal savings and loan *750  association, in which there was no stock outstanding.  In that case, we pointed out:The crucial and controlling factor lies in determining whether the acts done and expenditures made were motivated by a purpose to protect or to promote the taxpayer's business or were made as an investment in a new enterprise.  * * ** * * ** * * A Federal savings and loan association has no capital stock, and no individual, regardless of his contributions to the Association, may share in its income or surplus except as a member-shareholder in proportion to his or her deposit.  Consequently, petitioners, by their guaranty and subsequent payments pursuant thereto, acquired no capital asset in the form of a disposable interest in a going concern.  * * *In the Dinardo case, the taxpayers were physicians who organized a nonprofit corporation which was to operate a hospital with its facilities limited to their patients, the purpose being the earning of medical fees from patients*325  who were hospitalized there or who were referred to them because of their access to the facilities of the hospital.  They agreed to pay any operating deficit of the hospital.  In allowing the taxpayers to deduct amounts paid under the agreement, we stressed the fact that the payments were current expenses, and were not capital advances in the financing of a new enterprise.  Unlike the corporation here, the corporation there was a nonprofit corporation.In our opinion, the situation here was substantially different.  The payments in question were in the nature of capital expenditures in financing the launching of two new enterprises of which the stock, except for less than 2 percent in each instance, was owned by petitioner and the July 1 agreements were gimmicks which were to supply the basis for offsetting deductions for commissions earned over the 5 or 10 years to follow up to the amount of the capital contributions.  The respondent's determination is sustained.In addition to the disallowance of the $ 8,951.93 as indicated, the respondent disallowed the further deduction of $ 169, claimed as advertising expenses of City Insurance Agency.  The parties have stipulated that the said*326  $ 169 was expended on advertising for City Insurance Agency, and we do not now understand that the respondent opposes its deduction.  The deduction in that amount is accordingly allowed.On June 9, 1955, at or about the date Chicago Guarantee was organized petitioner made a payment of $ 9,000 to Medic Building as rent for 20 months, to commence July 1, for premises to be occupied by Chicago Guarantee.  During 1955 he was reimbursed by Chicago Guarantee for $ 2,000 of the amount so paid.  In his 1955 return, he deducted as rent paid $ 2,700 of the $ 7,000 net balance, and in his 1956 return, the remaining $ 4,300 as rent on the premises for 1956.In justification of the 1956 deduction, it is the contention of petitioner *751  that but for services rendered to or for him in the operation of his insurance agency by Chicago Guarantee employees and employees of First Guarantee and City Savings, he would have had to hire a clerk at a cost of $ 5,000 per year to look after his insurance sales originating with those associations.While we are satisfied that petitioner did in various of his personal business operations conduct them at the expense of Chicago Guarantee and First Guarantee, *327  as he did with City Savings, there is no evidence as to the extent or value of the services by the employees of Chicago Guarantee in respect of the business received from that source, or how it would compare or what the comparison would be in amount with the $ 7,000 balance expended by him as rent on behalf of Chicago Guarantee for the first 20 months of its operations.  But whatever the comparison might be, we are persuaded by the evidence overall that, as in the case of the cost of the advertising of the two associations, considered above, the payment here was likewise capital in character.  No part of the rent was paid in 1956, the year for which the deduction is claimed.  In fact, the entire payment was made in June of 1955, the same month in which petitioner organized the association, of which he was the owner of 98.6 percent of its stock. We conclude and hold that the payment was a capital contribution by petitioner in the launching of the association, the stock of which was owned by him, and that it was not a deductible expense.The facts show that on September 27, 1956, petitioner received premium refunds in the aggregate amount of $ 6,166.42 from the insurer of First Guarantee*328  and Chicago Guarantee under fire insurance policies purchased by them through petitioner.  As the basis for the refunds, the insurance company reported that a subsequent inspection of the buildings insured showed the structures to be fireproof, thereby entitling the associations to lower premium rates.  Petitioner deposited the $ 6,166.42 in his City Insurance Agency account at Manufacturers National Bank.  No part of the amount so received had been repaid by petitioner to First Guarantee or Chicago Guarantee as of the date of the trial of this case.The respondent in his determination of deficiency determined that the $ 6,166.42 received by petitioner as indicated was taxable income to him in 1956, the year of its receipt.In explanation of his retention of the premium refunds, it was petitioner's testimony that during the last 3 months of 1956 and the first 2 months of 1957, he did not have documents substantiating the fact that the buildings were fireproof.  His explanation of his failure to pay over the amounts in question to the two associations at a later date was that sometime in February of 1957, savings accounts in the name of City Insurance Agency in each of the associations*329  were, in petitioner's *752  words, "frozen" when the State auditor took control of the associations.  As stated by him, "The State Auditor took control of the two guarantee stock associations, and he froze up the savings accounts in each of them, that City Insurance had, and I was going to use the funds in those two accounts to reimburse each one of the associations.  In other words, I was going to offset, but wasn't able to."As to the existence of these savings accounts or how much money may have been deposited in them, all we know is what petitioner has asserted.  We were not at all impressed with the explanation of his failure to make the refunds in 1956, or in 1957, prior to the seizure of the associations by the State auditor. The insurance company had satisfied itself that the buildings were fireproof, and had made the refunds, and he has given no persuasive reason why it was necessary for him to obtain independent substantiation of the conclusions of the insurance company before making the payments to the two associations which had paid the premiums in the first place.  But, even so, he offers no explanation as to why the documents described were not obtained in the interval, *330  if, in fact, they were necessary for his own satisfaction.  We are not convinced that in 1956, or thereafter, petitioner recognized any valid and binding obligation to make refunds to the associations.  Rather, we think that he received and held the funds for his own use and benefits and without recognition of any rights in the associations.  He is deemed to have received income in that amount.  North American Oil Consolidated v. Burnet, 286 U.S. 417"&gt;286 U.S. 417.Petitioner cites and relies on Seven-Up Co., 14 T.C. 965"&gt;14 T.C. 965, and Broadcast Measurement Bureau, Inc., 16 T. C. 988. Each of those cases involved the receipt of funds, subject to a restriction that they be spent only for specified purposes.  There were no such restrictions here.  The determination of the respondent is sustained.The respondent rests his claim of fraud on three items, first, that there was a substantial overpayment by City Savings to Melvin on the remodeling job and that the amounts so paid were subsequently paid to or for the benefit of petitioner in the guise of loans or by other means; second, on the $ 10,000 paid by Melvin *331  to petitioner on May 28, 1956, and recorded as having been in payment for lot 1 of the 5000 block of West Jackson Boulevard; and third, on the $ 6,800 payment by City Savings at the direction of petitioner purportedly to Commercial Broadcasters.Under section 6653(b) of the Internal Revenue Code of 1954, the 50 percent addition to tax therein provided is to be added if any part of the deficiency is due to fraud.  It is accordingly sufficient under the statute if petitioner, with fraudulent intent, failed to report any part of any item of income received by him thereby giving rise *753  to the deficiency.  It is an established fact, and the petitioner does not contend otherwise, that he did not report any part of any one of the three items upon which the respondent relies in his claim of fraud.  Furthermore, petitioner makes no claim or contention that his failure to report the items in question or some part or parts thereof, was due to mistake but rather his contention is that he received no such income.With respect to the first of the three items on which respondent bases his claim of fraud, the evidence, in our opinion, amply shows and we have found as a fact that there was *332  a gross overpayment by City Savings to Melvin in respect of the remodeling of its building; that the overpayment was advisedly caused by petitioner and some part, if not all, of the overpayment was thereafter paid over by Melvin to petitioner, and was received and used by him as his own.  Aside from his contention that there was no overpayment by City Savings to Melvin which calls for no further discussion here, petitioner while admitting that he personally did receive substantial sums from Melvin during the taxable year, contends that as to $ 176,312.50 he only served as a conduit for its payment to Orville Hodge as a loan by Melvin to Hodge and as for the amounts received and retained by him, they were bona fide loans for the repayment of which he was obligated to Melvin, all of which is another way of saying that the funds so received by him were in fact and in toto the funds of Melvin.Even if we assume that the funds received by petitioner from Melvin for the purported purpose of completing loans to Hodge were in fact paid over by petitioner to Hodge, the conclusion must be the same, we think, whether they were intended as a payoff or as loans.  In either case such payments in*333  some substantial part at least must be regarded as having been made for the account of petitioner.  In the first place, there can be no question that Hodge in his capacity as State auditor had done and was doing favors for petitioner in respect of his wholly owned savings associations and his continued approval of construction loans by savings and loan associations was a prime objective of petitioner not only with respect to his own associations, First Guarantee and Chicago Guarantee, but with respect to his personal business operations, particularly his real estate business which in turn was dependent upon the continuation of construction loans to Melvin by City Savings, First Guarantee, and Chicago Guarantee.  And in that connection it is to be remembered that it was petitioner who promoted the said "loans" by Melvin to Hodge and who by manipulating the overpayments by City Savings saw to it that Melvin had the required funds.  Assuming, on the other hand, that a loan was in fact made to Hodge and repayment by him was intended, to whom would repayment be made?  The act of petitioner in causing the overpayment to be made by City Savings under the guise of payments for *754  the*334  remodeling of its building negates any thought or intent that City Savings would ever be repaid any of its funds so siphoned off.  It could be that some part of the overpayment was ultimately to belong to Melvin as its own for its part in the transaction, but the evidence of record bars any thought or conclusion that in dealings between petitioner and Melvin, Melvin would ever be the sole or even the major beneficiary.  Accordingly, we are satisfied and convinced that if any of the funds so received by petitioner from Melvin were in turn paid over to Hodge with any understanding between him and Hodge that repayment was to be made, it was petitioner's purpose and intent that in whole or substantial part he would be the ultimate recipient.  And insofar as the funds purportedly loaned to petitioner represented funds diverted from City Savings under the guise of payments for the remodeling of its building the same is true as with respect to the purported loans to Hodge.Noting the pattern of the various money transfers, petitioner's method of doing business, and his proclivity for using companies with which he occupied positions of trust for his personal benefit and gain, we have heretofore*335  concluded that through the overpayment by City Savings to Melvin and the subsequent tranfers of funds to petitioner, he was in receipt of income.  Taking into account his manipulation of funds from City Savings under the guise of payments for the remodeling of its building and through Melvin to him as outlined herein, coupled not only with his failure to record or to report any part thereof as income received but also with his denial of the receipt of any such income, it follows and we hold that his failure to report the income so received was due to fraud with intent to evade tax.  We accordingly conclude and hold as we have found as a fact, that part of the deficiency herein is due to fraud and the 50 percent addition to tax provided by section 6653(b) is required.Decision will be entered under Rule 50.  Footnotes1. The term "judgment note," as used hereafter, refers to a promissory note which provides that to secure payment of the amount owing, the maker irrevocably authorizes any attorney to appear for him after maturity and without process to confess judgment in favor of the holder of the note for the amount owing, together with costs and an attorney's fee.↩2. In verification of Account 6 B. Melvin's accountant examined the invoices and inspected the payroll records reflecting cost to Melvin for the City Savings job.  The items found were as shown by Account 6 B and their total, as reflected by the adding machine tape, was $ 124,207.26.↩3. Sec. 5-9.  Purchase of Real Estate for Office and Rental Purposes.An association may acquire and hold real estate in fee simple, or leaseholds on which a building or buildings exist or are to be erected, suitable for the transaction of the association's business, and from portions of which, not required for the association's own use, revenue may be derived; or may own all or part of the capital stock, shares, or interest in any corporation, association, or trust, engaged solely in holding all or part of such real estate. However, the amount so invested shall not exceed five percent (5%) of the association's total assets, unless the Auditor, upon a proper showing, shall approve a larger amount consistent with the needs of the association's business and its immediate future expansion.↩4. It was the testimony of petitioner that the day before the issuance of the $ 155,000 check to Hodge, Hodge had brought $ 155,000 to him in cash in a satchel, to be used in a transaction he was to have handled for Hodge; that he had placed $ 90,000 of the $ 155,000 in a safety-deposit box and had deposited $ 65,000 in his bank account; and that the money was returned to Hodge on the day following its receipt, because Hodge had decided to have the transaction handled elsewhere.  The $ 155,000, according to petitioner, had been delivered to him by Hodge in cash because Hodge was a "cash man." There was no testimony that Hodge resisted the payment to him on September 14, 1955, by check, rather than cash.  As for the $ 90,000 check received from Melvin on September 12, 1955, it was petitioner's testimony that the $ 90,000 from Melvin had nothing to do with the payment to Hodge, but together with $ 10,000 received previously was in connection with a purchase of real estate he was trying to negotiate for Melvin, which efforts at purchase were unsuccessful, and that the $ 100,000 was returned to Melvin in February of the following year.↩5. It was the testimony of petitioner that the check for $ 100,000 dated February 6, 1956, had been endorsed by him and delivered to Melvin as a return of $ 100,000, which had been received, $ 90,000 on September 12, 1955, and $ 10,000 prior thereto for his use in the purchase for Melvin of property at Jackson and Laramie Streets, which purchase had not materialized.↩6. Although petitioner was vague as to the details and as to whether or not anyone other than he and Hodge was present, it was the testimony of petitioner that Hodge received the $ 100,000 and executed the two judgment notes in his, petitioner's office.  It was petitioner's further testimony that sometime in June of 1956, he had received $ 50,000 from Hodge in repayment of a loan he had personally made to Hodge on some undisclosed date in 1955, but that the $ 50,000 so received was in no way connected with the two $ 50,000 "loans" by Melvin to Hodge.↩7. Typed on the back of the note, which is of record, appears the following:"It is expressly understood that if there is a default on the payment of this note, that the 38% interest in stock in the Chicago Guarantee Savings Association shall be held as full satisfaction for $ 135,000.00 of the principal amount of this note, and that the signer will not be liable for any deficiencies or losses if they should occur up to $ 135,000.00."The stock described had previously been posted as collateral for a loan to petitioner from a Chicago bank and could not have been available on the purported note to Melvin until August of 1957.  After having first testified that the stock was posted as collateral to Melvin on or about July 17, 1956, petitioner testified finally that the above-quoted matter was not typed on the back of the purported note until August of 1957.  He gave the same testimony as to the note for $ 105,000 bearing date of February 6, 1956, which similarly stated on its back that Chicago Guarantee stock was collateral therefor.At the time of the trial, the note also carried further endorsements on its back.  One bearing the initials "M. B." indicated interest in the amount of $ 8,000 received under date of February 19, 1957.  One was "Balance as of Dec. 31, 1957 -- $ 137,250.00." The third indicated payment of $ 2,500 on the principal on January 27, 1958, and a balance of $ 134,750.  Another denoted "Interest Paid 1/27/58 -- $ 5400.00 -- to 12/31/58." The last was typewritten and read "Received $ 5390.00 Int. 6/21/59 for year 1959."↩8. Insofar as appears, the $ 188,000 could have been the principal then due, after giving effect to credits for principal payments theretofore made.↩9. In the course of this testimony, Mensik testified that the $ 200,000 received by him from Melvin on July 17, 1956, and used by him in acquiring the Esquire Apartment Hotel mortgage from City Savings, was in repayment of a $ 200,000 loan he had made to Melvin 30 to 60 days before and for which he had received a judgment note from Melvin.↩10. Of the four individuals named, the low was $ 336,600-$ 436,600 by George Becker, called to testify by Auditor Smith, and the high was $ 715,900 by one Syzmanski and Robert John Siman, Jr., called to testify by the plaintiffs.  Presumably, the finding of the court also covered the land and building adjoining the City Savings building, since Syzmanski and Siman, at the instigation of City Savings, had appraised the two properties as of November 5, 1956, at $ 715,900, with the City Savings building being included at $ 553,049 and the land at $ 87,500, or a total for land and building of $ 640,549.↩11. The canceled check, which was placed in evidence, bears a penciled notation, "5000 Jackson Refund for escrow made." It was the testimony of petitioner that after receipt of the $ 10,000 from Melvin on May 28, 1956, it was discovered that Melvin already owned lot 1, and the $ 10,000 represented by the March 11, 1957, check was in refund of the $ 10,000 represented by Melvin's check of May 28, 1956.  It was his testimony that there was no recording of the receipt of the $ 10,000 in May of 1956 on any records maintained by him; that there "are many transactions that I have that I do not make a record of." As to the check to Melvin under date of March 11, 1957, it was his testimony that it was listed in his Allied Investment accounts as a charge to his capital account, and that the penciled notation that it was a refund for escrow made on 5000 West Jackson had been placed on the canceled check at or about the time it was returned to him from the bank.↩1. Amount unknown.↩12. It was his testimony that he did do some appraising in connection with the making of mortgage loans.  Presumably this reference was to the mortgage loan business of City Savings, First Guarantee, and Chicago Guarantee.↩13. In the stipulation of facts filed by the parties, it is recited:"Petitioners hereby agree that during the year 1956 City Insurance Agency earned commissions on various insurance policies issued to friends, relatives and employees of C. O. Mensik which were never received nor collected by City Insurance Agency.  Such commissions, which City Insurance Agency voluntarily waived the collection of, aggregated $ 2,357.43.  * * *"↩14. Petitioner testified that in his operations of city Insurance Agency, he maintained a "branch office," consisting of "two desks" but no employees, on the Chicago Guarantee premises, and that all of the work of the "branch" was performed for petitioner by employees of Chicago Guarantee.  In his testimony, he also suggests the maintenance of "other branches," with similar arrangements, for carrying on his personal insurance business at City Savings and First Guarantee, and that otherwise he would have had to hire a clerk "to handle the insurance at the branch offices," which would have cost him about $ 5,000 a year.  Handled in that way, he "could save on labor in the branch offices." He explained that these branch offices were a paying proposition, in that the gross income of City Insurance Agency at City Savings jumped from $ 1,000 in 1942, to gated $ 2,357.43.  * * *"↩15. It was petitioner's testimony that the vault was covered by Bagnuolo's plans.  As set out in the "plus" items, the vault was to be "fire-proof and burglar proof," with the walls, floor, and ceiling to be reinforced "with concrete one-inch rods." It was Bagnuolo's testimony that as covered by his plans the vault was to be constructed of cement blocks, with a "two hour fire door."↩16. According to the evidence, Melvin, at some time in 1954 to 1956, was employed by Mensik to do a remodeling job on a piece of property owned by him personally and, as in the case of the City Savings job, he instructed Winterhalter that Melvin was to receive its cost, plus 10 percent for overhead and 20 percent for profit.  Melvin's accounts show, however, that upon payment by petitioner of the amount representing Melvin's cost, the account was satisfied.↩17. SEC. 1221. CAPITAL ASSET DEFINED.For the purposes of this subtitle, the term "capital asset" means property held by the taxpayer (whether or not connected with his trade or business), but does not include -- (1) stock in trade of the taxpayer or other property of a kind which would properly be included in the inventory of the taxpayer if on hand at the close of the taxable year, or property held by the taxpayer primarily for sale to customers in the ordinary course of his trade or business;↩